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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA



     IN RE ZANTAC (RANITIDINE)                 MDL No. 2924
     PRODUCTS LIABILITY LITIGATION
                                               Case No. 20-md-2924
     This document relates to:
                                               Hon. Robin L. Rosenberg
     All cases                                 Magistrate Judge Bruce E. Reinhart



         ANSWER AND AFFIRMATIVE DEFENSES OF GLAXOSMITHKLINE LLC,
                GLAXOSMITHKLINE HOLDINGS (AMERICAS) INC.,
                        AND GLAXOSMITHKLINE PLC
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           Defendants GlaxoSmithKline LLC, GlaxoSmithKline Holdings (Americas) Inc.,1 and

    GlaxoSmithKline plc (collectively “GSK”) respectfully submit this Answer and Affirmative

    Defenses (“Answer”) to Plaintiffs’ Second Amended Master Personal Injury Complaint

    (“Complaint”).

                                     PRELIMINARY STATEMENT

           The following matters are incorporated by reference into GSK’s responses to each

    paragraph of the Complaint.

           A.      GSK is submitting this Answer only on behalf of itself. Where allegations are made

    against “Defendants” as a group, however described, GSK’s responses only apply to itself.

           B.      The Complaint contains purported references to documents and third-party

    publications and statements that have often been excerpted, paraphrased, characterized, and

    otherwise taken out of context. These documents and third-party publications and statements

    should be considered, if at all, in context and in unmodified form, and GSK respectfully refers the

    Court to the respective documents for their accurate and complete contents.

           C.      The    Complaint     contains    purported    scientific   conclusions   and   other

    characterizations of facts that are more properly left to expert testimony. GSK denies such

    conclusions and characterizations and respectfully submits that such matters will be addressed

    through appropriate scientific, medical, or expert testimony.

           D.      Except as otherwise expressly stated herein, GSK expressly denies each and every

    allegation contained in the Complaint, including without limitation any allegations contained in

    the preamble, unnumbered paragraphs, headings, subheadings, table of contents, and footnotes of

    the Complaint, and specifically denies any liability to Plaintiffs.


    1
     GlaxoSmithKline Holdings (Americas) Inc. is incorrectly referred to in the Complaint as
    “GlaxoSmithKline (America) Inc.”
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              E.     GSK reserves the right to seek to amend and supplement its answer as may be

    appropriate or necessary.

                             RESPONSE TO PLAINTIFFS’ COMPLAINT

              To the extent that the titles, headings, subheadings, paragraphs, and footnotes of the

    Complaint are intended to be allegations directed to GSK, they are, unless specifically admitted,

    denied.

              The allegations in the paragraph preceding the section titled “Introduction” consist of

    argument and legal conclusions that are incomplete, vague, and overly broad with respect to

    governing legal requirements, to which no response is required. GSK denies the allegations in this

    paragraph to the extent they are directed at GSK and lacks knowledge or information sufficient to

    form a belief as to the truth of the allegations of this paragraph as they relate to other Defendants

    and therefore denies those allegations.

                       RESPONSE TO SECTION TITLED “INTRODUCTION”

              1.           GSK denies each and every allegation in this Paragraph except that GSK

    admits only that certain of the GSK defendants at relevant times were engaged in the business of

    manufacturing, marketing, selling, or distributing Zantac in the United States, and that its Zantac

    products contained FDA-approved labeling and prescribing information, which speaks for itself,

    but denies any attempt by Plaintiffs to interpret or characterize it. Further, GSK respectfully refers

    the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to Plaintiffs’

    alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief sought in

    the Complaint. Responding further, GSK states that facts relating to the chemistry, benefits, and

    potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

    testimony.




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           2.              Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

    characterize or paraphrase information disseminated by the FDA, which speaks for itself.

    Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

    ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

           3.              Responding to this Paragraph, GSK states that facts relating to the risk

    factors and complications of NDMA will be addressed through appropriate scientific, medical, or

    expert testimony.

           4.              Responding to this Paragraph, GSK states that facts relating to the risk

    factors and complications of NDMA will be addressed through appropriate scientific, medical, or

    expert testimony. Responding further, GSK states that facts relating to the chemistry, benefits,

    and potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

    testimony.

           5.              GSK denies each and every allegation in this Paragraph as to itself, except

    that GSK admits only that it initiated a voluntary recall of ranitidine products internationally in

    2019. The remaining allegations in this Paragraph are not directed at GSK and therefore require

    no response from GSK. To the extent a response is required, GSK admits only that this Paragraph

    purports to refer to FDA actions, which speak for themselves, but denies any attempt by Plaintiffs

    to interpret or characterize them.

           6.              Responding to this Paragraph, GSK states that facts relating to the chemistry,

    benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

    or expert testimony.




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           7.              Responding to this Paragraph, GSK states that facts relating to the chemistry,

    benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

    or expert testimony.

           8.              GSK denies each and every allegation in this Paragraph, except that GSK

    admits only that a predecessor entity of GSK was the innovator of Zantac.

           9.              The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph and

    therefore denies those allegations.

           10.             The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph and

    therefore denies those allegations.

           11.             The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph and

    therefore denies those allegations.

           12.             GSK lacks knowledge or information sufficient to form a belief as to the

    truth of the allegations of this Paragraph as to itself and therefore denies those allegations. The

    remaining allegations in this Paragraph are not directed at GSK and therefore require no response

    from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

    to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

    therefore denies those allegations.




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            13.            GSK denies each and every allegation in this Paragraph except that GSK

    admits only that certain of the GSK defendants at relevant times were engaged in the business of

    manufacturing, marketing, selling, or distributing Zantac in the United States, that this Paragraph

    purports to refer to sales figures, which speak for themselves, but denies any attempt by Plaintiffs

    to interpret or characterize them, and that its Zantac products contained FDA-approved labeling

    and prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to

    interpret or characterize it.

            14.            GSK respectfully refers the Court to Plaintiffs’ Complaint but denies that its

    conduct caused or contributed to Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs

    for damages or any other relief sought in the Complaint.

                            RESPONSE TO SECTION TITLED “PARTIES”

            15.            GSK respectfully refers the Court to Plaintiffs’ Complaint but denies that its

    conduct caused or contributed to Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs

    for damages or any other relief sought in the Complaint.

            16.            GSK denies each and every allegation in this Paragraph as to itself. GSK

    lacks knowledge or information sufficient to form a belief as to the truth of the allegations of this

    Paragraph as to other Defendants and Plaintiffs and therefore denies those allegations.

            17.            GSK lacks knowledge or information sufficient to form a belief as to the

    truth of the allegations of this Paragraph and therefore denies those allegations.

                        RESPONSE TO SECTION TITLED “DEFENDANTS”

            18.            GSK denies each and every allegation in this Paragraph as to itself except

    that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

    business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

    its Zantac products contained FDA-approved labeling and prescribing information, which speaks


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    for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

    allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

    To the extent a response is required, GSK lacks knowledge or information sufficient to form a

    belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

    those allegations.

           19.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Boehringer Ingelheim Pharmaceuticals, Inc. and therefore denies those allegations.

           20.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Boehringer Ingelheim Corporation and therefore denies those allegations.

           21.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Boehringer Ingelheim USA Corporation and therefore denies those allegations.

           22.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Boehringer Ingelheim International GmbH and therefore denies those allegations.

           23.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or




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    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Boehringer Ingelheim Promeco, S.A. de C.V. and therefore denies those allegations.

           24.           The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Boehringer Ingelheim Pharmaceuticals, Inc. and therefore denies those allegations.

           25.           GSK admits only that GlaxoSmithKline LLC is a Delaware limited liability

    company and that its sole member is GlaxoSmithKline Holdings (Americas) Inc.

           26.           GSK admits only that GlaxoSmithKline Holdings (Americas) Inc. is a

    Delaware corporation and that its principal place of business is in Wilmington, Delaware.

           27.           GSK admits only that GlaxoSmithKline plc is a public limited company

    incorporated in England and that its principal place of business is in the United Kingdom.

           28.           GSK     admits    only   that   Defendants   GlaxoSmithKline     LLC     and

    GlaxoSmithKline Holdings (Americas) Inc. are subsidiaries of Defendant GlaxoSmithKline plc.

           29.           The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Pfizer Inc. and therefore denies those allegations.

           30.           The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Sanofi-Aventis U.S. LLC and therefore denies those allegations.




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           31.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Sanofi US Services Inc. and therefore denies those allegations.

           32.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to non-

    party Sanofi SA and therefore denies those allegations.

           33.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Patheon Manufacturing Services LLC and therefore denies those allegations.

           34.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Chattem, Inc. and therefore denies those allegations.

           35.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

    Defendant Chattem, Inc. and therefore denies those allegations.

           36.            The allegations in this Paragraph are not directed at GSK and therefore

    require no response from GSK. To the extent a response is required, GSK lacks knowledge or




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   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

           37.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required GSK admits only that certain of the

   GSK defendants at relevant times were engaged in the business of manufacturing, marketing,

   selling, or distributing Zantac in the United States.

                 RESPONSE TO SECTION TITLED “JURISDICTION AND VENUE”

           38.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 28 U.S.C. § 1332(a), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           39.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           40.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 28 U.S.C. § 1391(a), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           41.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 28 U.S.C. § 1407, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           42.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK lacks knowledge or information




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   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

           43.            GSK denies each and every allegation as to itself and admits only that certain

   of the GSK defendants at relevant times were engaged in the business of manufacturing,

   marketing, selling, or distributing Zantac in the United States. Responding further, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

           44.            GSK denies each and every allegation as to itself and admits only that certain

   of the GSK defendants at relevant times were engaged in the business of manufacturing,

   marketing, selling, or distributing Zantac in the United States. Responding further, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

           45.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

           46.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to this Court’s PTO No. 11 Setting Forth Procedures for Direct Filed Personal Injury Cases, which

   speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.




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                  RESPONSE TO SECTION TITLED “FACTUAL ALLEGATIONS”

           RESPONSE TO SECTION TITLED “I. THE CREATION OF RANITIDINE-
         CONTAINING PRODUCTS AND THEIR INTRODUCTION TO THE MARKET”

           47.           GSK admits only that certain of the GSK defendants at relevant times were

   engaged in the business of manufacturing, marketing, selling, or distributing Zantac in the United

   States. GSK lacks knowledge or information sufficient to form a belief as to the truth of the

   remaining allegations of this Paragraph as to other Defendants and therefore denies those

   allegations.

         RESPONSE TO SECTION TITLED “A. GSK DEVELOPS ZANTAC THROUGH A
                 FLURRY OF AGGRESSIVE MARKETING MANEUVERS”

           48.           GSK admits only that ranitidine belongs to a class of medications called

   histamine H2-receptor antagonists. Responding further to this Paragraph, GSK states that facts

   relating to the characteristics, chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

           49.           GSK admits only that Tagamet belongs to a class of medications called

   histamine H2-receptor antagonists.

           50.           GSK denies each and every allegation in this Paragraph and corresponding

   footnote 7 except that GSK admits only that GSK formed as a result of mergers and acquisitions

   of predecessor entities, that certain of the GSK defendants at relevant times were the innovator of

   Zantac, and that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it.

           51.           GSK denies each and every allegation in this Paragraph except that GSK

   admits only that certain of the GSK defendants at relevant times were the innovator of Zantac.




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           52.            GSK denies each and every allegation in this Paragraph except that GSK

   admits only that certain of the GSK defendants at relevant times were the innovator of Zantac and

   that this Paragraph purports to refer to a Patent awarded by the U.S. Patent and Trademark Office,

   which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           53.            GSK admits only that certain of the GSK defendants at relevant times were

   engaged in the business of manufacturing, marketing, selling, or distributing Zantac in the United

   States, and that this Paragraph purports to refer to a New Drug Application approval awarded by

   the FDA and sales figures, which speak for themselves, but denies any attempt by Plaintiffs to

   interpret or characterize them.

           54.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   this Paragraph purports to refer to information contained in Bates GSKZAN0000348881 and Bates

   GSKZAN0000348871 cited in footnote 8, which speak for themselves, but denies any attempt by

   Plaintiffs to interpret or characterize them.

           55.            GSK admits only that its FDA-approved prescription Zantac had indications

   including duodenal ulcers and for treatment of patients with gastroesophageal reflux disease

   (GERD) as set forth in the FDA-approved full prescribing information, and that this Paragraph

   purports to refer to an FDA approval for Zantac indications, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize it.

           56.            GSK admits only that in 1993 GSK Warner-Lambert formed a joint venture

   to develop over-the-counter (“OTC”) versions of Zantac. GSK further states that this Paragraph

   purports to refer to information contained in Bates GSKZAN0000022775 cited in footnote 9 and




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   FDA approvals of NDAs for certain Zantac dose forms, which speak for themselves, but denies

   any attempt by Plaintiffs to interpret or characterize them.

          57.             GSK admits only that GSK and Warner-Lambert ended their joint venture in

   1998, that Warner-Lambert retained control of the NDAs for OTC Zantac in the United States, and

   that this Paragraph purports to refer to partnership agreements, trademark rights, and information

   contained in Bates PFI00245109 cited in footnote 11, which speak for themselves, but denies any

   attempt by Plaintiffs to interpret or characterize them.

          58.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph and

   therefore denies those allegations.

          59.             GSK admits only that certain of the GSK defendants at relevant times were

   engaged in the business of manufacturing, marketing, selling, or distributing Zantac in the United

   States, and that this Paragraph purports to refer to a divestiture and transfer agreement, which

   speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

          60.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          61.             GSK denies the allegations in this Paragraph and admits only that GSK and

   Pfizer entered into various agreements relating to the manufacture and supply of certain

   components of OTC Zantac during the time that Pfizer held the rights to OTC Zantac.




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          62.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that this

   Paragraph purports to refer to information contained in Bates PFI00191352 cited in footnote 12,

   which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize them. GSK

   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          63.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that this

   Paragraph purports to refer to a divestiture agreement, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize them. GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the remaining allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          64.             GSK admits only that certain of the GSK defendants at relevant times were

   engaged in the business of manufacturing, marketing, selling, or distributing Zantac in the United

   States, and that this Paragraph purports to refer to NDAs and an annual report cited in footnote 13,

   which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

          65.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that that

   this Paragraph purports to refer to an ANDA referenced in footnote 14, which speaks for itself, but

   denies any attempt by Plaintiffs to interpret or characterize them. GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.




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          66.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that that

   this Paragraph purports to refer to an asset swap agreement, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize them. GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          67.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that that

   this    Paragraph      purports       to   refer     to    information      contained      in     Bates

   SANOFI_ZAN_MDL_0000208478 cited in footnote 15, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize it. GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          68.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          69.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          70.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that this




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   Paragraph purports to refer to a Stock Asset Purchase Agreement, which speaks for itself, but

   denies any attempt by Plaintiffs to interpret or characterize it.         GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          71.             The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK admits only that this

   Paragraph purports to refer to a 2016 Asset Purchase Agreement, which speaks for itself, but denies

   any attempt by Plaintiffs to interpret or characterize it. GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          72.             GSK denies each and every allegation in this Paragraph and chart as to itself

   except that GSK admits only that certain of the GSK defendants at relevant times were engaged in

   the business of manufacturing and selling Zantac in the United States. The remaining allegations

   in this Paragraph and chart are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph and chart as to other Defendants and

   therefore denies those allegations.

         RESPONSE TO SECTION TITLED “II. NDMA IS A CARCINOGEN WHOSE
               DANGEROUS PROPERTIES ARE WELL ESTABLISHED”

          73.             GSK admits only that this Paragraph purports to refer to information

   published by the U.S. Environmental Protection Agency cited in footnote 16 and information

   published by Jane Brody cited in footnote 17, which speak for themselves, but denies any attempt

   by Plaintiffs to interpret or characterize them. Responding further, GSK states that facts relating




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   to the risk factors and complications of NDMA will be addressed through appropriate scientific,

   medical, or expert testimony.

          74.             GSK admits only that this Paragraph purports to refer to information

   published by the U.S. Environmental Protection Agency and the International Agency for

   Research on Cancer cited in footnote 18, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize them. Responding further, GSK states that facts relating to

   the risk factors and complications of NDMA will be addressed through appropriate scientific,

   medical, or expert testimony.

          75.             Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the International Agency for Research on

   Cancer cited in footnote 18 which speaks for itself. Responding further, GSK states that facts

   relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          76.             Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the U.S. Environmental Protection Agency

   cited in footnote 20 or statements made by the American Conference of Governmental Industrial

   Hygienists, which speak for themselves. Responding further, GSK states that facts relating to the

   risk factors and complications of NDMA will be addressed through appropriate scientific, medical,

   or expert testimony.

          77.             Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the U.S. Environmental Protection Agency

   cited in footnotes 21 and 22 or statements made by the Department of Health and Human Services,

   which speak for themselves. Responding further, GSK states that facts relating to the risk factors




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   and complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

          78.           GSK admits only that this Paragraph purports to refer to information

   published by the FDA cited in footnote 24 and information contained in Bates

   ApotexCorp_0000000786 and Amneal_prod 1_0000002938 cited in footnotes 23 and 25, which

   speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          79.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the World Health Organization cited in

   footnote 26 and International Council for Harmonisation of Technical Requirements for

   Pharmaceuticals for Human Use cited in footnote 27, which speak for themselves. Responding

   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.

          80.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase a regulation promulgated by the state of California which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          81.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the European Medicines Agency cited in

   footnote 28 which speaks for itself. Responding further, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.




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          82.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the Agency for Toxic Substances and Disease

   Registry cited in footnote 29 which speaks for itself. Responding further, GSK states that facts

   relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          83.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the International Register of Potentially Toxic

   Chemicals which speaks for itself. Responding further, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          84.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the Occupational Safety and Health

   Administration cited in footnote 30 which speaks for itself. Responding further, GSK states that

   facts relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          85.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that this Paragraph purports to refer to uncited internal documents which

   speak for themselves but denies any attempt by Plaintiffs to interpret or characterize them.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          86.            GSK admits only that this Paragraph purports to refer to information

   contained in Bates GSKZAN0000236640 cited in footnote 31, which speaks for itself, but denies

   any attempt by Plaintiffs to interpret or characterize it. Responding further, GSK states that facts

   relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          87.            GSK admits only that this Paragraph purports to refer to information

   contained in Bates GSKZAN0000369506 cited in footnote 32 and GSKZAN0000257640 cited in

   footnotes 33 and 34, which speak for themselves, but denies any attempt by Plaintiffs to interpret

   or characterize them. Responding further, GSK states that facts relating to the risk factors and

   complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

          88.            GSK admits only that this Paragraph purports to refer to information

   contained in Bates GSKZAN0000163882 cited in footnote 35, a letter cited in footnote 36, Bates

   GSKZAN0000178581 cited in footnote 37, and Bates GSKZAN0000172037 cited in footnote 38,

   which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          89.            GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   SANOFI_ZAN_MDL_0000169790                   cited        in    footnote       39       and       Bates




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   SANOFI_ZAN_MDL_0000206858 cited in footnote 40, which speak for themselves, but denies

   any attempt by Plaintiffs to interpret or characterize them. Responding further, GSK states that

   facts relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          90.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   DRLMDL0000077291 cited in footnote 41 and Bates DRLMDL0000070414 cited in footnotes 42

   and 43, which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize

   them. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          91.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   DRLMDL0000069991 cited in footnote 44, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it . Responding further, GSK states that facts relating to the

   risk factors and complications of NDMA will be addressed through appropriate scientific, medical,

   or expert testimony.

          92.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   ApotexCorp_0000030734 cited in footnote 45, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to the




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   risk factors and complications of NDMA will be addressed through appropriate scientific, medical,

   or expert testimony.

          93.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   GiantEagle_MDL2924_00000303 cited in footnote 46, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize it. Responding further, GSK states that facts

   relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          94.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   LANNETT0006894 cited in footnote 47, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to the

   risk factors and complications of NDMA will be addressed through appropriate scientific, medical,

   or expert testimony.

          95.             GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   WOCKHARDT00014477 cited in footnote 48, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to the

   risk factors and complications of NDMA will be addressed through appropriate scientific, medical,

   or expert testimony.




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          96.            GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   Aurobindo_prod2__0000000668 cited in footnote 49 and Aurobindo_prod2__0000000465 cited

   in footnotes 50 and 51, which speak for themselves, but denies any attempt by Plaintiffs to interpret

   or characterize them. Responding further, GSK states that facts relating to the risk factors and

   complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

          97.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph and

   therefore denies those allegations.

          98.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph and

   therefore denies those allegations.

          99.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK, except that GSK denies any attempt by Plaintiffs to characterize

   or paraphrase information published by the FDA cited in footnote 52 which speaks for itself. To

   the extent a response is required, GSK lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations of this Paragraph therefore denies those allegations.




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          100.           Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          101.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the FDA cited in footnote 53 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          102.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited animal studies which speak for themselves.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          103.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited animal studies which speak for themselves.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          104.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited animal studies which speak for themselves.

   Responding further, GSK states that facts relating to the benefits and potential risks of ranitidine

   and the risk factors and complications of NDMA will be addressed through appropriate scientific,

   medical, or expert testimony.

          105.           Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.




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          106.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the EPA cited in footnote 54 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          107.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited in vitro studies which speak for themselves.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          108.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited animal studies which speak for themselves.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          109.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the EPA cited in footnote 55 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          110.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the EPA cited in footnote 56 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of cancer will be addressed through appropriate scientific, medical, or expert testimony.

          111.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information from uncited animal and human studies which speak for

   themselves.    Responding further, GSK states that facts relating to the risk factors and




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   complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

          112.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Pobel cited in footnote 57 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          113.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by La Vecchia cited in footnote 58 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          114.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Rogers cited in footnote 59 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          115.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Knekt cited in footnote 60 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          116.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Straif cited in footnote 61 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.




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          117.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Loh cited in footnote 62 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          118.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Zhu cited in footnote 63 which speaks for

   itself. Responding further, GSK states that facts relating to the risk factors and complications of

   NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          119.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the World Health Organization cited in

   footnote 64 and information contained in uncited in vivo and in vitro studies, which speak for

   themselves.    Responding further, GSK states that facts relating to the risk factors and

   complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

          120.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in uncited studies which speaks for itself. Responding

   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.

    RESPONSE TO SECTION TITLED “III. NDMA IS DISCOVERED IN RANITIDINE-
        CONTAINING PRODUCTS, LEADING TO MARKET WITHDRAWAL”

          121.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that it initiated a voluntary recall of ranitidine products internationally in

   2019. Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize

   or paraphrase a publication by ValisureRX LLC, and FDA statement cited in footnote 65 which



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   speak for themselves. Responding further, GSK denies any attempt by Plaintiffs to characterize

   or paraphrase a Citizen Petition by ValisureRX LLC, and the FDA and EMA statements cited in

   footnote 65, which speak for themselves. GSK denies Plaintiffs’ attempts to characterize the

   actions of FDA and/or European authorities. GSK further denies that any conclusions can be

   drawn from the Valisure Citizen Petition based on gas chromatography because it is not a method

   recognized by FDA as an appropriate method for testing NDMA in ranitidine. GSK denies any

   attempt by Plaintiffs or Valisure to characterize the facts relating to chemistry, benefits, and

   potential risks of ranitidine. GSK states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          122.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information disseminated by the FDA cited in footnote 66 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          123.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information disseminated by the FDA cited in footnote 67 which speaks

   for itself. Responding further, GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          124.           GSK admits only that this Paragraph purports to refer to information

   disseminated by the FDA cited in footnote 68 and information published by Apotex cited in




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   footnote 69, which speak for themselves, but denies any attempt by Plaintiffs to interpret or

   characterize them. Responding further, GSK states that facts relating to the risk factors and

   complications of NDMA will be addressed through appropriate scientific, medical, or expert

   testimony.

           125.            GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to an announcement by CVS, which speaks for

   itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           126.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information disseminated by the FDA cited in footnote 70 which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

           127.            Responding to this Paragraph, GSK admits only that it initiated a voluntary

   recall of ranitidine products internationally in 2019, and that this Paragraph purports to refer to

   information published by the UK Government cited in footnote 71 and information published in

   Reuters in footnote 72, which speak for themselves, but denies any attempt by Plaintiffs to interpret

   or characterize them.

           128.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations. Responding further, GSK admits only that this




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   Paragraph purports to refer to an announcement by the FDA cited in footnote 73, which speaks for

   itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           129.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to an announcement by the FDA cited in footnote

   74, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           130.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to an announcement by the FDA cited in footnote

   75, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           131.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to an announcement by the FDA cited in footnote

   76, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           132.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the FDA cited in footnote 77, which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

           133.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the FDA cited in footnote 78 and information

   published by de Flora in footnote 79, which speak for themselves. Responding further, GSK states




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   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

           134.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations, except that GSK

   admits only that this Paragraph purports to refer to announcements by the FDA cited in footnote

   80, which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize

   them.

           135.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Emery Pharma, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

           136.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Emery Pharma and cited in footnote 81, which

   speaks for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

           137.          GSK admits only that this Paragraph purports to refer to information

   published by the FDA and cited in footnotes 82-86, which speaks for itself, but denies any attempt

   by Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to

   the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

           138.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Emery Pharma and the FDA, which speaks




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   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          139.           GSK admits only that this Paragraph purports to refer to information

   published by Newkirk and Berfield cited in footnote 87, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize it. Responding further to this Paragraph, GSK

   denies any attempts by Plaintiffs to interpret or characterize any actions taken or not taken by FDA

   and other markets and regulators, which speak for themselves

          140.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the European Medicines Agency and cited in

   footnote 88, which speaks for itself. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          141.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the European Medicines Agency and cited in

   footnote 89, which speaks for itself. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

     RESPONSE TO SECTION TITLED “IV. HOW RANITIDINE TRANSFORMS INTO
                                  NDMA”

          142.           Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony. Responding further to this Paragraph, GSK denies Plaintiffs’ characterization

   and depiction of the ranitidine molecule in Figure 1.



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          143.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          144.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Ogawa cited in footnote 90 and Mitch cited

   in footnote 91, which speak for themselves. Responding further, GSK states that facts relating to

   the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          145.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

           RESPONSE TO SECTION TITLED “A. FORMATION OF NDMA IN THE
                    ENVIRONMENT OF THE HUMAN STOMACH”

          146.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          147.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by de Flora cited in footnote 92, which speaks

   for itself. Responding further to footnote 93 of this Paragraph, GSK denies each and every

   allegation as to itself, except that GSK admits only that its Zantac products contained FDA-

   approved labeling and prescribing information and that this footnote purports to refer to an FDA

   approval package, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it. Responding further to this Paragraph, GSK states that facts relating to the




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   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          148.           GSK denies each and every allegation in this Paragraph, and further denies

   any attempt by Plaintiffs to characterize or paraphrase information published by Brittain cited in

   footnote 94, which speaks for itself. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          149.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a publication by Edwards cited in footnote 95,

   which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

          150.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a publication by the Senate Committee on

   Finance cited in footnote 96, a publication by the U.S. Department of Justice cited in footnote 97,

   and a Sanofi webpage cited in footnote 98, which speak for themselves, but denies any attempt by

   Plaintiffs to interpret or characterize them.

          151.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   GSKZAN0000050413 cited in footnote 99, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          152.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates




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   GSKZNDAA0000071900 cited in footnote 100, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          153.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a Summary Basis of Approval cited in footnote

   101, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          154.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a Summary Basis of Approval cited in footnote

   102, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          155.           GSK denies each and every allegation in this Paragraph. Responding further,

   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          156.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a study by Thomas cited in footnotes 103 and

   104, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.




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          157.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to an uncited GSK study, which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it. Responding further, GSK states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

          158.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a publication by Maura cited in footnote 105,

   which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          159.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to a publication by de Flora cited in footnote 106,

   which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          160.           GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that this Paragraph purports to refer to information contained in uncited

   Defendant        documents        and       in      Bates       SANOFI_ZAN_MDL-0000033849-

   SANOFI_ZAN_MDL_0000033891, at SANOFI_ZAN_MDL_0000033873 cited in footnote 107,

   which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants




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   and therefore denies those allegations. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          161.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   GSKZNDAA0000072103-GSKZNDAA0000072128 cited in footnote 108, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          162.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to refer to information contained in Bates

   GSKZAN0000369313 cited in footnote 109 and Bates GSKZNDAA0000636549 cited in footnote

   110, which speak for themselves, but denies any attempt by Plaintiffs to interpret or characterize

   them. Responding further, GSK states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          163.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Le Roux cited in footnote 111, which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          164.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Krawczynski and purportedly contained in

   Bates GSKZAN0000235261cited in footnote 112, which speaks for itself. Responding further,




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   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          165.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          166.           Responding to this Paragraph, GSK denies that any conclusions can be

   drawn from the 2016 “Stanford study” because the study authors retracted the study and admitted

   their testing method was flawed and “that their NDMA measurements are not reliable.” See Teng

   Zeng & William A. Mitch, Retraction, Carcinogenesis (May 4, 2021). GSK otherwise denies the

   remaining allegations in this Paragraph.

          167.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          168.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, either uncited or cited

   in footnote 114, and information published by the FDA, cited in footnote 115, which speak for

   themselves. GSK further denies that any conclusions can be drawn from the Valisure Citizen

   Petition based on gas chromatography because it is not a method recognized by FDA as an

   appropriate method for testing NDMA in ranitidine. GSK denies any attempt by Plaintiffs or

   Valisure to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine.




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   Responding further to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          169.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, which speak for

   themselves. GSK further denies that any conclusions can be drawn from the Valisure Citizen

   Petition based on gas chromatography because it is not a method recognized by FDA as an

   appropriate method for testing NDMA in ranitidine. GSK denies any attempt by Plaintiffs or

   Valisure to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine.

   Responding further to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          170.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, which speak for

   themselves. GSK further denies that any conclusions can be drawn from the Valisure Citizen

   Petition based on gas chromatography because it is not a method recognized by FDA as an

   appropriate method for testing NDMA in ranitidine. GSK denies any attempt by Plaintiffs or

   Valisure to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine.

   Responding further to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          171.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, which speak for




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   themselves. Responding further, GSK denies any attempt by Plaintiffs or Valisure to characterize

   the facts relating to chemistry, benefits, and potential risks of ranitidine. Responding further, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

           172.           GSK admits only that this Paragraph purports to refer to information

   published in marketing materials cited in footnote 116, which speak for themselves, but denies any

   attempt by Plaintiffs to interpret or characterize them. Responding further, GSK states that facts

   relating to the chemistry, benefits, and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

           173.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, uncited and cited in

   Table 2, which speak for themselves. Responding further, GSK denies any attempt by Plaintiffs

   or Valisure to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

           174.           GSK denies any attempt by Plaintiffs or Valisure to characterize the facts

   relating to chemistry, benefits, and potential risks of ranitidine. GSK states that facts relating to

   the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

           175.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the FDA, which speaks for itself. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.




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          176.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs or

   Valisure to characterize or paraphrase scientific data and literature, which speak for themselves.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   RESPONSE TO SECTION TITLED “B. FORMATION OF NDMA IN OTHER ORGANS
                          OF THE HUMAN BODY”

          177.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, which speak for

   themselves. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          178.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure and information

   published by Ogawa cited in footnote 117, which speak for themselves. Responding further, GSK

   denies any attempt by Plaintiffs or Valisure to characterize the facts relating to chemistry, benefits,

   and potential risks of ranitidine. GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          179.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure including Figure 2, which speaks for

   itself. Responding further, GSK denies any attempt by Plaintiffs or Valisure to characterize the

   facts relating to chemistry, benefits, and potential risks of ranitidine. GSK states that facts relating

   to the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.



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          180.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure, which speaks for itself. Responding

   further, GSK denies any attempt by Plaintiffs or Valisure to characterize the facts relating to

   chemistry, benefits, and potential risks of ranitidine. GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          181.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by the National Center for Biotechnology

   Information including Figure 3, which speaks for itself. Responding further, GSK denies any

   attempt by Plaintiffs or Valisure to characterize the facts relating to chemistry, benefits, and

   potential risks of ranitidine. GSK states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          182.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information or allegations set forth by Valisure, or information

   published by the National Center for Biotechnology Information which speaks for itself.

   Responding further, GSK denies any attempt by Plaintiffs or Valisure to characterize the facts

   relating to chemistry, benefits, and potential risks of ranitidine. Responding further, GSK states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

          183.           Responding to this Paragraph, GSK denies that any conclusions can be

   drawn from the 2016 “Stanford study” because the study authors retracted the study and admitted

   their testing method was flawed and “that their NDMA measurements are not reliable.” See Teng

   Zeng & William A. Mitch, Retraction, Carcinogenesis (May 4, 2021). Responding further, GSK




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   denies any attempt by Plaintiffs or Valisure to characterize the facts relating to chemistry, benefits,

   and potential risks of ranitidine. GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

    RESPONSE TO SECTION TITLED “C. FORMATION OF NDMA BY EXPOSURE TO
                      HEAT, MOISTURE, AND/OR TIME”

          184.           GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this Paragraph purports to characterize or paraphrase an uncited GSK study and

   an uncited publication by Valisure, which speak for themselves. GSK further denies that any

   conclusions can be drawn from the Valisure Citizen Petition based on gas chromatography because

   it is not a method recognized by FDA as an appropriate method for testing NDMA in ranitidine.

   Responding further, GSK denies any attempt by Plaintiffs or Valisure to characterize the facts

   relating to chemistry, benefits, and potential risks of ranitidine. Responding further to this

   Paragraph, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          185.           Responding to this Paragraph, GSK admits only that this Paragraph purports

   to characterize or paraphrase information published by the FDA, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          186.           Responding to this Paragraph, GSK admits only that this Paragraph purports

   to characterize or paraphrase information published by Emery Pharma and cited in Figure 4, which

   speaks for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.



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          187.            Responding to this Paragraph, GSK admits only that this Paragraph purports

   to characterize or paraphrase information published by Emery Pharma cited in footnote 118, which

   speaks for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          188.            Responding to this Paragraph, GSK admits only that this Paragraph purports

   to characterize or paraphrase information published by Emery Pharma, which speaks for itself.

   Responding further to this paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase FDA actions, which speak for themselves. Responding further, GSK states that facts

   relating to the chemistry, benefits, and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony. GSK further states that the allegations in this

   Paragraph are denied.

          189.            GSK admits only that this Paragraph purports to refer to a publication by

   Woodcock cited in footnote 119, which speaks for itself, but denies any attempt by Plaintiffs to

   interpret or characterize it. Responding further, GSK states that facts relating to the chemistry,

   benefits, and potential risks of Zantac and/or ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          190.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure or disseminated by the FDA, which

   speak for themselves, and denies any attempt by Plaintiffs to characterize any actions taken or not

   taken by “regulatory authorities throughout the world,” which speak for themselves. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of Zantac and/or

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.




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          191.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure or disseminated by the FDA, which

   speak for themselves. Responding further to this Paragraph, GSK denies each and every allegation

   in this Paragraph as to itself and admits only that it conducted a root cause analysis of NDMA in

   ranitidine products. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          192.            GSK denies each and every allegation in this Paragraph, except that GSK

   admits only that this paragraph purports to refer to information contained in Bates

   GSKZAN0000052019-GSKZAN0000052127 cited in footnotes 120-122, which speak for

   themselves, but denies any attempt by Plaintiffs to characterize or paraphrase them. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of Zantac and/or

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          193.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

   Sanofi and therefore denies those allegations. Responding further, GSK admits only that this

   paragraph purports to refer to information contained in Bates SANOFI_ZAN_MDL_0000151458

   cited in footnote 123, which speaks for itself, but denies any attempt by Plaintiffs to characterize

   or paraphrase it.

          194.            The allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or




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   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to

   Sanofi and therefore denies those allegations. Responding further, GSK admits only that this

   paragraph purports to refer to information contained in Bates SANOFI_ZAN_MDL_0000166517-

   527, at p.11 cited in footnote 124, which speaks for itself, but denies any attempt by Plaintiffs to

   characterize or paraphrase it.

             195.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

             196.          GSK denies each and every allegation in this Paragraph as to itself, and

   further denies any attempt by Plaintiffs to characterize or paraphrase information contained in

   uncited     documents    produced     by   Defendants    and    information    contained    in   Bates

   BOE_ZAN_MDL_0000203482,                GSKZAN0000178835,             DRLMDL0000087754,             and

   DRLMDL0000077957, cited in footnote 125, which speak for themselves.                  The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

    RESPONSE TO SECTION TITLED “V. EVIDENCE DIRECTLY LINKS RANITIDINE
                          EXPOSURE TO CANCER”

             197.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in uncited studies, which speak for themselves.




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   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          198.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Michaud and cited in footnote 126, which

   speaks for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          199.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Mathes and cited in footnote 127, which

   speaks for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          200.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Habel and cited in footnote 128, which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          201.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Tran and cited in footnote 129, which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.




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          202.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Shao and cited in footnote 130, which speaks

   for itself. Responding further, GSK states that facts relating to the chemistry, benefits, and

   potential risks of H2 blockers will be addressed through appropriate scientific, medical, or expert

   testimony.

          203.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Mathes, Ahn, Lai, Poulsen, and Wennerström

   cited in footnote 131, and Adamson cited in footnote 132, which speak for themselves.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

    RESPONSE TO SECTION TITLED “VI. DEFENDANTS KNEW OR SHOULD HAVE
                       KNOWN OF THE NDMA RISK”

          204.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by de Flora cited in footnote 133, which speaks

   for itself. Responding further to this paragraph, GSK denies each and every allegation in this

   Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations. Responding further, GSK

   states that facts relating to the chemistry, benefits, and potential risks of Zantac will be addressed

   through appropriate scientific, medical, or expert testimony.

          205.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Carey in footnote 134, which speaks for itself.




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   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          206.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by de Flora cited in footnote 135, and uncited information

   purportedly disseminated by GSK, which speak for themselves. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   Zantac will be addressed through appropriate scientific, medical, or expert testimony.

          207.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published in allegedly numerous uncited studies and by Thomas cited in

   footnote 136, and information disseminated by GSK, which speak for themselves, and further

   denies Plaintiffs’ characterization of Thomas as “flawed” and “inadequate.” The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations. Responding further, GSK states that facts relating to the chemistry, benefits,

   and potential risks of Zantac will be addressed through appropriate scientific, medical, or expert

   testimony.




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    RESPONSE TO SECTION TITLED “THE FEDERAL REGULATORY LANDSCAPE”

           208.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

      RESPONSE TO SECTION TITLED “I. MANUFACTURER DEFENDANTS MADE
       FALSE STATEMENTS IN THE LABELING OF RANITIDINE-CONTAINING
                               PRODUCTS”

           209.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 201.5 cited in footnote 137 and § 201.15 cited in footnote 138, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

           210.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 65 Fed. Reg. 14286 cited in footnote 139, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it.

           211.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to United States v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942) cited in footnote 140, which

   speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           212.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 211.166(a) cited in footnotes 141 and 142, which speaks for itself, but denies any

   attempt by Plaintiffs to interpret or characterize it.

           213.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 211.166(a) cited in footnote 143, 21 C.F.R. § 211.137(a) cited in footnote 144 and


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   21 C.F.R. § 211.137(b) cited in footnote 145, which speak for themselves, but denies any attempt

   by Plaintiffs to interpret or characterize them.

           214.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           215.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 43 Fed. Reg. 45059 (Sept. 29, 1978) cited in footnote 146, which speaks for itself, but denies

   any attempt by Plaintiffs to interpret or characterize it.

           216.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 211.166(b) cited in footnote 147, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it.

           217.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. §§ 211.166(b) cited in footnote 148, and §§ 314.70 and 314.71, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

           218.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 314.70(b) cited in footnote 149, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it.

           219.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer




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   to 21 C.F.R. §§ 314.70(c)(3) and (c)(6) cited in footnote 150, which speak for themselves, but

   denies any attempt by Plaintiffs to interpret or characterize them.

           220.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R § 314.70(c)(6)(i) cited in footnote 151 and 65 Fed. Reg. 83042 (Dec. 29, 2000) cited

   in footnote 152, which speak for themselves, but denies any attempt by Plaintiffs to interpret or

   characterize them.

           221.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 211.137(a) cited in footnote 153, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it.

           222.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. §§ 314.70(c)(6)(iii)(A), (C), and (D), cited in footnote 154, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them.

           223.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. 314.70 (d)(2)(ix) cited in footnote 155, which speaks for itself, but denies any attempt

   by Plaintiffs to interpret or characterize it.

           224.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. §§ 314.70 (d)(2)(vi), (d)(2)(vii), and (d)(2)(x) cited in footnote 156, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them.




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          225.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          226.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          227.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          228.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that at all relevant times, the labeling for GSK’s Zantac products contained

   expiration dates approved by the FDA, which were not shortened. GSK further denies the

   allegations of this Paragraph as conclusions of law to which no response is required. The




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   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          229.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

         RESPONSE TO SECTION TITLED “II. FEDERAL LAW REQUIRED THE
       DEFENDANTS TO NOTIFY THE FDA ABOUT THE PRESENCE OF NDMA IN
                    RANITIDINE-CONTAINING PRODUCTS”

          230.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          231.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.




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           232.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 314.81(b)(2), which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it.

           233.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 314.81(b)(2)(v), which speaks for itself, but denies any attempt by Plaintiffs to

   interpret or characterize it.

           234.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

           235.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

           236.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

           237.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing and selling Zantac in the United States, and that its Zantac products

   contained FDA-approved labeling and prescribing information, which speaks for itself, but denies

   any attempt by Plaintiffs to interpret or characterize it. Responding further, GSK denies any

   attempt by Plaintiffs to characterize any decisions made, actions taken, or documents published by

   FDA, which speak for themselves. The remaining allegations in this Paragraph are not directed at

   GSK and therefore require no response from GSK. To the extent a response is required, GSK

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

     RESPONSE TO SECTION TITLED “III. GOOD MANUFACTURING PRACTICES”

           238.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 U.S.C. § 351(a)(2)(B), cited in footnote 157, which speaks for itself, but denies any attempt

   by Plaintiffs to interpret or characterize it.

           239.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 210.1(a), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.




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           240.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Responding further, GSK admits only that this Paragraph purports to refer

   to 21 C.F.R. § 211.142(b), which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it.

           241.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Woodcock cited in footnote 158, information

   published by the FDA, and a citizen petition from Emery, which speak for themselves. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

           242.          GSK denies each and every allegation in this Paragraph except that GSK

   admits only that certain of the GSK defendants at relevant times were engaged in the business of

   manufacturing, marketing, selling, or distributing Zantac in the United States, and that its Zantac

   products contained FDA-approved labeling and prescribing information, which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it. The remaining allegations in

   this Paragraph are not directed at GSK and therefore require no response from GSK. To the extent

   a response is required, GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph as to other Defendants and therefore denies those

   allegations.

          RESPONSE TO SECTION TITLED “PLAINTIFFS’ USE OF RANITIDINE-
                           CONTAINING PRODUCTS”

           243.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           244.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph regarding Plaintiffs’ product usage and therefore denies



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   those allegations. Responding further, GSK states that facts relating to the chemistry, benefits,

   and potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          245.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          246.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          247.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants.

          248.           GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs.

          249.           GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the




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   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. Responding further,

   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony. The remaining allegations

   in this Paragraph are not directed at GSK and therefore require no response from GSK. To the

   extent a response is required, GSK lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs.

          250.           GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. Responding further,

   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony. The remaining allegations

   in this Paragraph are not directed at GSK and therefore require no response from GSK. To the

   extent a response is required, GSK lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs.

          251.           GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. Responding further,




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   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony. The remaining allegations

   in this Paragraph are not directed at GSK and therefore require no response from GSK. To the

   extent a response is required, GSK lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs.

           252.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. Responding further,

   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony. The remaining allegations

   in this Paragraph are not directed at GSK and therefore require no response from GSK. To the

   extent a response is required, GSK lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs.

           253.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   is required from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs.

           254.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   is required from GSK. To the extent a response is required, GSK lacks knowledge or information




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   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs.

    RESPONSE TO SECTION TITLED “TOLLING / FRAUDULENT CONCEALMENT”

           255.           GSK respectfully refers the Court to Plaintiffs’ Complaint but denies that its

   conduct caused or contributed to Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs

   for damages or any other relief sought in the Complaint.

           256.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph and therefore denies

   those allegations.

           257.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph and therefore denies

   those allegations.

           258.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph and therefore denies

   those allegations.

           259.           GSK denies each and every allegation in this Paragraph as to itself. GSK

   further denies the allegations of this Paragraph as conclusions of law to which no response is

   required. The remaining allegations in this Paragraph are not directed at GSK and therefore require

   no response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.


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          260.           GSK denies each and every allegation in this Paragraph as to itself. GSK

   further denies the allegations of this Paragraph as conclusions of law to which no response is

   required. The remaining allegations in this Paragraph are not directed at GSK and therefore require

   no response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

         RESPONSE TO SECTION TITLED “EXEMPLARY / PUNITIVE DAMAGES
                               ALLEGATIONS”

          261.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          262.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          263.            GSK respectfully refers the Court to Plaintiffs’ Complaint but denies that its

   conduct caused or contributed to Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs

   for damages or any other relief sought in the Complaint.

                   RESPONSE TO SECTION TITLED “CAUSES OF ACTION”

     RESPONSE TO SECTION TITLED “COUNT I: STRICT PRODUCTS LIABILITY—
          FAILURE TO WARN THROUGH WARNINGS AND PRECAUTIONS”

          264.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          265.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here and admits

   only that certain of the GSK defendants at relevant times were engaged in the business of

   manufacturing, marketing, selling, or distributing Zantac in the United States.

          266.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          267.            Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          268.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          269.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          270.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          271.            GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          272.            GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by de Flora, which speaks for itself. Responding further, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.




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          273.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by GSK, which speaks for itself.

          274.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information disseminated by GSK, which speaks for itself. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          275.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information in a study conducted by GSK, which speaks for itself. Responding further,

   GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          276.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          277.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          278.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK and information published

   by the University of Genoa, which speak for themselves. Responding further, GSK states that




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   facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          279.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by de Flora, which speaks for itself. Responding further, GSK

   states that facts relating to the risk factors and complications of NDMA will be addressed through

   appropriate scientific, medical, or expert testimony.

          280.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published in an uncited study, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          281.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published in an uncited study, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          282.           Responding to this Paragraph, GSK denies that any conclusions can be

   drawn from the 2016 “Stanford study” because the study authors retracted the study and admitted

   their testing method was flawed and “that their NDMA measurements are not reliable.” See Teng

   Zeng & William A. Mitch, Retraction, Carcinogenesis (May 4, 2021). GSK otherwise denies the

   remaining allegations in this Paragraph.

          283.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure and information published by the

   FDA cited in footnote 159, which speak for themselves. GSK further denies that any conclusions




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   can be drawn from the Valisure Citizen Petition based on gas chromatography because it is not a

   method recognized by FDA as an appropriate method for testing NDMA in ranitidine. Responding

   further, GSK denies any attempt by Plaintiffs or Valisure to characterize the facts relating to

   chemistry, benefits, and potential risks of ranitidine. GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          284.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure, which speaks for itself. GSK further

   denies that any conclusions can be drawn from the Valisure Citizen Petition based on gas

   chromatography because it is not a method recognized by FDA as an appropriate method for

   testing NDMA in ranitidine. Responding further, GSK denies any attempt by Plaintiffs or Valisure

   to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine. GSK

   states that facts relating to chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

          285.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure, which speaks for itself. GSK further

   denies that any conclusions can be drawn from the Valisure Citizen Petition based on gas

   chromatography because it is not a method recognized by FDA as an appropriate method for

   testing NDMA in ranitidine. Responding further, GSK denies any attempt by Plaintiffs or Valisure

   to characterize the facts relating to chemistry, benefits, and potential risks of ranitidine. GSK

   states that facts relating to chemistry, benefits, or potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.




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          286.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          287.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. GSK further states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.




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          288.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. GSK further states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          289.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that its Zantac products contained FDA-

   approved labeling and prescribing information, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. GSK further states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.




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          290.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          291.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          292.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          293.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          294.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.




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           295.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

           296.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and their

   doctors and therefore denies those allegations.

           297.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          298.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          299.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants,

   Plaintiffs, and their doctors and therefore denies those allegations.

          300.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          301.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          302.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          303.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          304.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          305.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-1 ALABAMA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          306.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          307.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          308.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          309.            GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 309, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT I-2 ALASKA: STRICT PRODUCTS
    LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                            PRECAUTIONS”

          310.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          311.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          312.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          313.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 313, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT I-3 ARIZONA: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          314.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          315.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          316.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          317.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 317, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-4 ARKANSAS: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          318.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          319.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          320.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          321.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 321, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-5 CALIFORNIA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          322.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          323.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          324.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          325.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 325, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT I-6 COLORADO: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          326.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          327.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          328.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          329.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 329, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT I-7 CONNECTICUT: STRICT
        PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          330.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          331.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Conn. Gen.




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   Stat. § 52-572q, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           332.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           333.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 333, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT I-8 DISTRICT OF COLUMBIA:
    STRICT PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

           334.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           335.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           336.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          337.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 337, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT I-9 FLORIDA: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          338.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          339.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          340.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          341.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 341, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT I-10 GEORGIA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          342.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          343.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          344.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          345.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 345, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT I-11 HAWAII: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          346.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          347.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          348.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          349.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 349, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT I-12 IDAHO: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          350.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          351.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          352.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          353.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 353, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-13 ILLINOIS: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          354.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          355.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          356.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          357.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 357, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT I-14 INDIANA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          358.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          359.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          360.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          361.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 361, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT I-15 KANSAS: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          362.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          363.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          364.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          365.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 365, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-16 KENTUCKY: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          366.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          367.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          368.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          369.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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           Responding to the unnumbered statement following Paragraph 369, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-17 LOUISIANA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

           370.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           371.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to La. Rev. Stat.

   § 9:2800.53(9), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           372.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           373.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 373, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT I-18 MAINE: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

           374.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           375.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to La. Rev. Stat.

   § 9:2800.53(9), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           376.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           377.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 377, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-19 MARYLAND: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

           378.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          379.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          380.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          381.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 381, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-20 MICHIGAN: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          382.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          383.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          384.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          385.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 385, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-21 MINNESOTA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          386.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          387.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          388.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          389.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 389, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT I-22 MISSISSIPPI: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          390.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          391.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          392.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          393.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 393, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-23 MISSOURI: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          394.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          395.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          396.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          397.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 397, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-24 MONTANA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          398.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          399.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          400.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          401.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 401, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-25 NEBRASKA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          402.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          403.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          404.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          405.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 405, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT I-26 NEVADA: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          406.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          407.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          408.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          409.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 409, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT I-27 NEW HAMPSHIRE: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

          410.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          411.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          412.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          413.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 413, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT I-28 NEW JERSEY: STRICT
        PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          414.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          415.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          416.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          417.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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           Responding to the unnumbered statement following Paragraph 417, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT I-29 NEW MEXICO: STRICT
        PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

           418.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           419.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Serna v. Roche

   Labs., Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for

   itself, but denies any attempt by Plaintiffs to interpret or characterize it.

           420.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           421.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 421, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT I-30 NEW YORK: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          422.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          423.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          424.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          425.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 425, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT I-31 NORTH DAKOTA: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

          426.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          427.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          428.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          429.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 429, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT I-32 OHIO: STRICT PRODUCTS
      LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          430.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          431.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          432.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          433.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 433, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-33 OKLAHOMA: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          434.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          435.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          436.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          437.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 437, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT I-34 OREGON: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          438.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          439.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          440.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          441.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 441, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT I-35 PUERTO RICO: STRICT
        PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          442.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          443.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          444.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          445.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 445, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT I-36 RHODE ISLAND: STRICT
        PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          446.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          447.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          448.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          449.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 449, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT I-37 SOUTH CAROLINA: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

          450.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          451.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          452.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          453.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 453, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT I-38 SOUTH DAKOTA: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

          454.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          455.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          456.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          457.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 457, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-39 TENNESSEE: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

          458.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          459.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          460.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          461.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 461, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT I-40 TEXAS: STRICT PRODUCTS
     LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          462.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          463.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          464.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          465.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 465, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT I-41 UTAH: STRICT PRODUCTS
      LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          466.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          467.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          468.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          469.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 469, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT I-42 VERMONT: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          470.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          471.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          472.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          473.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 473, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT I-43 WASHINGTON: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

          474.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          475.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to RCW




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   7.72.030(1)(b), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           476.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           477.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 477, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT I-44 WEST VIRGINIA: STRICT
       PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH
                      WARNINGS AND PRECAUTIONS”

           478.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           479.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           480.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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           481.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 481, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT I-45 WISCONSIN: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                       WARNINGS AND PRECAUTIONS”

           482.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           483.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Wis. Stat. §

   895.047(a)(1), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           484.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           485.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 485, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT I-46 WYOMING: STRICT
         PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        WARNINGS AND PRECAUTIONS”

          486.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          487.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          488.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          489.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 489, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “COUNT II: NEGLIGENCE—FAILURE TO
               WARN THROUGH WARNINGS AND PRECAUTIONS”

          490.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no



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   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          491.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          492.            Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          493.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          494.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          495.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          496.            GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          497.            GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by de Flora, which speaks for itself. Responding further, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          498.            GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by GSK, which speaks for itself.

          499.            GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information disseminated by GSK, which speaks for itself. Responding further, GSK

   states that facts relating to the risk factors and complications of NDMA will be addressed through

   appropriate scientific, medical, or expert testimony.

          500.            Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.




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   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          501.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          502.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          503.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK and information published

   by the University of Genoa, which speak for themselves.            GSK further denies Plaintiffs’

   characterization of the GSK’s study as “flawed.” Responding further to this Paragraph, GSK states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

          504.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or

   paraphrase information published by de Flora, which speaks for itself. Responding further, GSK




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   states that facts relating to the risk factors and complications of NDMA will be addressed through

   appropriate scientific, medical, or expert testimony.

          505.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published in an uncited study, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          506.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published in an uncited study, which speaks for itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          507.           Responding to this Paragraph, GSK denies that any conclusions can be

   drawn from the 2016 “Stanford study” because the study authors retracted the study and admitted

   their testing method was flawed and “that their NDMA measurements are not reliable.” See Teng

   Zeng & William A. Mitch, Retraction, Carcinogenesis (May 4, 2021). GSK otherwise denies the

   remaining allegations in this Paragraph.

          508.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure, which speaks for itself. GSK further

   denies that any conclusions can be drawn from the Valisure Citizen Petition based on gas

   chromatography because it is not a method recognized by FDA as an appropriate method for

   testing NDMA in ranitidine. GSK denies any attempt by Plaintiffs or Valisure to characterize the

   facts relating to chemistry, benefits, and potential risks of ranitidine. Responding further to this

   Paragraph, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.




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          509.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          510.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that its Zantac products contained FDA-

   approved labeling and prescribing information, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. GSK further states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          511.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          512.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.




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          513.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          514.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          515.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          516.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          517.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.




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          518.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and

   Plaintiffs’ doctors and therefore denies those allegations.

          519.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          520.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          521.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          522.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          523.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          524.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          525.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extend a response is required, GSK denies each and every

   allegation in this Paragraph as to itself except that GSK admits only that its Zantac products

   contained FDA-approved labeling and prescribing information, which speaks for itself, but denies

   any attempt by Plaintiffs to interpret or characterize it. GSK further states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony. The remaining allegations in this Paragraph are not

   directed at GSK and therefore require no response from GSK. To the extent a response is required,

   GSK lacks knowledge or information sufficient to form a belief as to the truth of the allegations

   of this Paragraph as to other Defendants and therefore denies those allegations.




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          526.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          527.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-1 ALABAMA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          528.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          529.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.



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          530.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          531.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 531, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-2 ALASKA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          532.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          533.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          534.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          535.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 535, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-3 ARIZONA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          536.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          537.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          538.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          539.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 539, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-4 ARKANSAS: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          540.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          541.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          542.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          543.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 543, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-5 CALIFORNIA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          544.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          545.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          546.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          547.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 547, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-6 COLORADO: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          548.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          549.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          550.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          551.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 551, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT II-7 CONNECTICUT:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

           552.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           553.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Conn. Gen.

   Stat. § 52-572q, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           554.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           555.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 555, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-8 DELAWARE: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

           556.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          557.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          558.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          559.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 559, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-9 DISTRICT OF COLUMBIA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          560.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          561.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          562.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          563.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 563, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-10 FLORIDA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          564.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          565.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          566.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          567.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 567, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT II-11 GEORGIA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          568.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          569.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          570.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          571.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 571, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-12 HAWAII: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          572.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          573.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          574.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing


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   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          575.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 575, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-13 IDAHO: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          576.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          577.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          578.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          579.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 579, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to



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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-14 ILLINOIS: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          580.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          581.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          582.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          583.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 583, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-15 INDIANA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          584.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          585.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.


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          586.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          587.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 587, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-16 IOWA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          588.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          589.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          590.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          591.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 591, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-17 KANSAS: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          592.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          593.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          594.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          595.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 595, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT II-18 KENTUCKY:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          596.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          597.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          598.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          599.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 599, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint

     RESPONSE TO SECTION TITLED “SUB-COUNT II-19 MAINE: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          600.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          601.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          602.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          603.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 603, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-20 MARYLAND:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          604.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          605.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          606.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          607.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 607, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT II-21 MASSACHUSETTS:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          608.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          609.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          610.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          611.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 611, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT II-22 MICHIGAN: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          612.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          613.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          614.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          615.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 615, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-23 MINNESOTA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          616.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          617.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          618.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          619.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 619, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-24 MISSISSIPPI:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          620.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          621.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          622.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          623.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 623, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-25 MISSOURI: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          624.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          625.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          626.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          627.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 627, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-26 MONTANA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          628.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          629.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          630.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          631.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 631, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT II-27 NEBRASKA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          632.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          633.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          634.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.



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          635.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 635, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-28 NEVADA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          636.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          637.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          638.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          639.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 639, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT II-29 NEW HAMPSHIRE:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          640.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          641.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          642.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          643.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 643, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT II-30 NEW MEXICO:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          644.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          645.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Roche Labs.,




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   Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it.

          646.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          647.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 647, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-31 NEW YORK:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          648.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          649.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          650.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          651.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 651, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT II-32 NORTH CAROLINA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          652.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          653.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          654.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          655.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 655, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT II-33 NORTH DAKOTA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          656.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          657.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          658.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          659.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 659, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-34 OKLAHOMA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          660.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          661.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          662.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          663.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 663, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-35 OREGON: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          664.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          665.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          666.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          667.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 667, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT II-36 PENNSYLVANIA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          668.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          669.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          670.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          671.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 671, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT II-37 PUERTO RICO:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          672.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          673.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          674.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          675.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 675, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint




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        RESPONSE TO SECTION TITLED “SUB-COUNT II-38 RHODE ISLAND:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          676.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          677.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          678.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          679.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 679, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT II-39 SOUTH CAROLINA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          680.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          681.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          682.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          683.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 683, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT II-40 SOUTH DAKOTA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                              PRECAUTIONS”

          684.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          685.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          686.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          687.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 687, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT II-41 TENNESSEE:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          688.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          689.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          690.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          691.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 691, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT II-42 TEXAS: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          692.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          693.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          694.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          695.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 695, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT II-43 UTAH: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          696.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          697.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          698.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          699.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 699, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-44 VERMONT: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          700.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          701.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          702.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          703.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 703, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-45 VIRGINIA: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS”

          704.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          705.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          706.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize



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   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          707.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 707, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT II-46 WEST VIRGINIA:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          708.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          709.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          710.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants


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   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          711.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 711, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT II-47 WISCONSIN:
     NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                             PRECAUTIONS”

          712.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          713.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          714.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.


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          715.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 715, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT II-48 WYOMING: NEGLIGENCE—
    FAILURE TO WARN CONSUMERS THRO`UGH WARNINGS AND PRECAUTIONS”

          716.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          717.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          718.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK, To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          719.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.




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          Responding to the unnumbered statement following Paragraph 719, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “COUNT III: STRICT PRODUCTS LIABILITY—
          FAILURE TO WARN THROUGH PROPER EXPIRATION DATES”

          720.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

          721.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   GSK denies each and every allegation in this Paragraph as to itself except that GSK admits only

   that certain of the GSK defendants at relevant times were engaged in the business of

   manufacturing, marketing, selling, or distributing Zantac in the United States. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          722.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the




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   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          723.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          724.            Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          725.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          726.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants




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   and therefore denies those allegations. Further responding, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          727.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          728.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.137, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          729.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.166, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.




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          730.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that it is aware of regulations applicable to storage conditions and that those

   regulations speak for themselves. The remaining allegations in this Paragraph are not directed at

   GSK and therefore require no response from GSK. To the extent a response is required, GSK

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          731.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          732.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          733.           GSK denies each and every allegation in this Paragraph as to itself except

   GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          734.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          735.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States. GSK

   further states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony. GSK states that facts

   relating to the chemistry, risk factors and complications of NDMA will be addressed through

   appropriate scientific, medical, or expert testimony The remaining allegations in this Paragraph

   are not directed at GSK and therefore require no response from GSK. To the extent a response is

   required, GSK lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          736.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing




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   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          737.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          738.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          739.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          740.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and Plaintiffs and therefore denies those

   allegations.

          741.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that




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   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          742.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          743.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          744.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. Further, GSK denies each and every allegation in this Paragraph as to

   itself except that GSK admits only that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. GSK further states that facts relating to the chemistry, benefits, and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          745.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          746.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing




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   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-1 ALABAMA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          747.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          748.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          749.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          750.            GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 750, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to


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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-2 ALASKA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          751.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          752.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          753.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          754.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 754, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT III-3 ARIZONA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          755.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          756.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          757.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          758.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 758, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-4 ARKANSAS: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          759.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          760.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          761.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          762.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 762, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint

      RESPONSE TO SECTION TITLED “SUB-COUNT III-5 CALIFORNIA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          763.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          764.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          765.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize


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   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.

          766.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 766, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-6 COLORADO: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          767.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          768.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          769.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations. Further responding, GSK

   states that facts relating to the chemistry, benefits, and potential risks of ranitidine will be

   addressed through appropriate scientific, medical, or expert testimony.




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          770.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 770, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT III-7 CONNECTICUT: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          771.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          772.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          773.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          774.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 774, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT III-8 DISTRICT OF COLUMBIA:
     STRICT PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH
                        PROPER EXPIRATION DATES”

          775.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          776.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          777.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          778.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 778, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-9 FLORIDA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          779.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          780.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          781.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          782.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 782, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.



       RESPONSE TO SECTION TITLED “SUB-COUNT III-10 GEORGIA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          783.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          784.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          785.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.




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          786.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 786, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-11 HAWAII: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          787.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          788.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          789.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          790.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 790, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT III-12 IDAHO: STRICT PRODUCTS
        LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          791.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          792.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          793.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          794.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 794, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-13 ILLINOIS: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          795.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          796.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          797.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          798.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 798, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-14 INDIANA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          799.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          800.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          801.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          802.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 802, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-15 KANSAS: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          803.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          804.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          805.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          806.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 806, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT III-16 KENTUCKY: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          807.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          808.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          809.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          810.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 810, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-17 LOUISIANA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          811.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          812.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to La. Rev. Stat.




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   § 9:2800.53(9), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           813.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           814.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 814, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT III-18 MAINE: STRICT PRODUCTS
        LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

           815.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           816.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           817.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          818.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 818, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-19 MARYLAND: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          819.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          820.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          821.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          822.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 822, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT III-20 MICHIGAN: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          823.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          824.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          825.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          826.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 826, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-21 MINNESOTA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          827.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          828.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          829.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          830.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 830, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-22 MISSISSIPPI: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          831.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          832.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          833.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          834.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 834, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-23 MISSOURI: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          835.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          836.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          837.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          838.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 838, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT III-24 MONTANA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          839.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          840.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          841.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          842.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 842, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-25 NEBRASKA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          843.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          844.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          845.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          846.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 846, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-26 NEVADA: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          847.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          848.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          849.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          850.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 850, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT III-27 NEW HAMPSHIRE: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          851.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          852.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          853.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          854.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 854, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT III-28 NEW JERSEY: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          855.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          856.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          857.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          858.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 858, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT III-29 NEW MEXICO: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          859.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          860.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Roche Labs.,




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   Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it.

          861.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          862.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 862, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-30 NEW YORK: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          863.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          864.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          865.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          866.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 866, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT III-31 NORTH DAKOTA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          867.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          868.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          869.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          870.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 870, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT III-32 OHIO: STRICT PRODUCTS
        LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          871.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          872.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          873.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          874.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 874, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-33 OKLAHOMA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          875.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          876.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          877.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          878.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 878, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT III-34 OREGON: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          879.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          880.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          881.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          882.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 882, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT III-35 PUERTO RICO: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          883.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          884.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          885.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          886.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 886, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT III-36 RHODE ISLAND: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          887.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          888.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          889.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          890.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 890, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT III-37 SOUTH CAROLINA: STRICT
   PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          891.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          892.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          893.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          894.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 894, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT III-38 SOUTH DAKOTA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          895.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          896.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          897.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          898.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 898, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-39 TENNESSEE: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          899.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          900.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          901.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          902.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 902, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT III-40 TEXAS: STRICT PRODUCTS
         LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          903.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          904.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          905.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          906.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 906, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT III-41 UTAH: STRICT PRODUCTS
         LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          907.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          908.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          909.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          910.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 910, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-42 VERMONT: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

          911.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          912.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          913.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          914.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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           Responding to the unnumbered statement following Paragraph 914, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT III-43 WASHINGTON: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

           915.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           916.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to RCW

   7.72.030(1)(b), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           917.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           918.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 918, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT III-44 WEST VIRGINIA: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          919.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          920.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          921.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          922.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 922, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-45 WISCONSIN: STRICT
    PRODUCTS LIABILITY— FAILURE TO WARN CONSUMERS THROUGH PROPER
                           EXPIRATION DATES”

          923.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          924.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Wis. Stat. §




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   895.047(a)(1), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           925.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           926.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 926, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT III-46 WYOMING: STRICT
    PRODUCTS LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                          EXPIRATION DATES”

           927.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           928.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           929.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          930.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 930, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “COUNT IV: NEGLIGENCE—FAILURE TO
                WARN THROUGH PROPER EXPIRATION DATES”

          931.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          932.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          933.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information



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   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          934.            Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          935.            Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          936.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          937.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks

   of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          938.            GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.




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          939.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.137, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

          940.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.166, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

          941.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that it is aware of regulations applicable to storage conditions and that those

   regulations speak for themselves. The remaining allegations in this Paragraph are not directed at

   GSK and therefore require no response from GSK. To the extent a response is required, GSK

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          942.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          943.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed




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   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          944.            GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          945.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          946.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          947.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          948.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          949.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and their

   doctors and therefore denies those allegations.

           950.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

           951.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          952.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and

   Plaintiffs’ physicians and therefore denies those allegations.

          953.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          954.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          955.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          956.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          957.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          958.            GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-1 ALABAMA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          959.            GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.



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          960.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          961.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          962.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 962, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-2 ALASKA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          963.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          964.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          965.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.



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          966.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 966, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-3 ARIZONA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          967.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          968.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          969.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          970.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 970, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IV-4 ARKANSAS: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          971.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          972.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          973.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          974.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 974, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-5 CALIFORNIA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          975.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          976.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          977.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          978.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 978, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-6 COLORADO:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          979.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          980.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          981.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          982.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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           Responding to the unnumbered statement following Paragraph 982, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT IV-7 CONNECTICUT:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

           983.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           984.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Conn. Gen.

   Stat. § 52¬572q, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           985.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           986.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 986, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT IV-8 DELAWARE:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          987.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          988.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          989.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          990.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 990, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-9 DISTRICT OF COLUMBIA:
        NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          991.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          992.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          993.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          994.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 994, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-10 FLORIDA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          995.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          996.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          997.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          998.           GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 998, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-11 GEORGIA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          999.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1000.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1001.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1002.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1002, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-12 HAWAII: NEGLIGENCE—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1003.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          1004.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1005.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1006.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1006, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-13 IDAHO: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1007.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1008.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1009.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.



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          1010.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1010, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-14 ILLINOIS: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1011.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1012.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1013.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1014.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1014, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IV-15 INDIANA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1015.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1016.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1017.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1018.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1018, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-16 IOWA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1019.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1020.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1021.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing


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   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1022.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1022, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-17 KANSAS: NEGLIGENCE—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1023.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1024.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1025.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1026.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1026, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to



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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-18 KENTUCKY:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1027.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1028.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1029.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1030.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1030, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-19 MAINE: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1031.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          1032.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1033.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1034.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1034, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-20 MARYLAND:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1035.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1036.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1037.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1038.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1038, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT IV-21 MASSACHUSETTS:
        NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1039.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1040.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1041.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1042.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1042, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT IV-22 MICHIGAN:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1043.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1044.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1045.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1046.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1046, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT IV-23 MINNESOTA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1047.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1048.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1049.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1050.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1050, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-24 MISSISSIPPI:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1051.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1052.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1053.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1054.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1054, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-25 MISSOURI: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1055.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1056.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1057.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1058.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1058, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT IV-26 MONTANA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES

          1059.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          1060.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1061.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1062.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1062, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-27 NEBRASKA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1063.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1064.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1065.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1066.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1066, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-28 NEVADA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1067.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1068.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1069.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1070.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1070, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IV-29 NEW HAMPSHIRE:
        NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1071.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1072.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1073.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1074.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1074, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT IV-30 NEW MEXICO:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1075.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1076.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Roche Labs.,




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   Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it.

          1077.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1078.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1078, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-31 NEW YORK:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1079.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1080.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1081.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1082.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1082, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT IV-32 NORTH CAROLINA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1083.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1084.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1085.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1086.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1086, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT IV-33 NORTH DAKOTA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1087.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1088.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1089.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1090.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1090, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT IV-34 OKLAHOMA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1091.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1092.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1093.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1094.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1094, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-35 OREGON: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1095.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1096.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1097.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1098.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 1098, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT IV-36 PENNSYLVANIA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1099.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1100.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1101.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1102.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1102, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT IV-37 PUERTO RICO:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1103.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1104.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1105.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1106.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1106, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT IV-38 RHODE ISLAND:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1107.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1108.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1109.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1110.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1110, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT IV-39 SOUTH CAROLINA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1111.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1112.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1113.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1114.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1114, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT IV-40 SOUTH DAKOTA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1115.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1116.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1117.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1118.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1118, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT IV-41 TENNESSEE:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1119.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1120.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1121.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1122.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1122, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-42 TEXAS: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1123.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1124.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1125.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1126.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1126, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IV-43 UTAH: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1127.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1128.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1129.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1130.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 1130, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT IV-44 VERMONT: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1131.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1132.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1133.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1134.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1134, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IV-45 VIRGINIA: NEGLIGENCE—
     FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES”

          1135.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          1136.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1137.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1138.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1138, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT IV-46 WEST VIRGINIA:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1139.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1140.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1141.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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           1142.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1142, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-47 WISCONSIN:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

           1143.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1144.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Wis. Stat. §

   895.047(a)(1), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1145.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1146.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1146, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT IV-48 WYOMING:
         NEGLIGENCE—FAILURE TO WARN CONSUMERS THROUGH PROPER
                            EXPIRATION DATES”

          1147.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1148.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1149.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1150.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1150, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “COUNT V: STRICT PRODUCTS LIABILITY—
            DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1151.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no



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   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1152.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1153.           Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          1154.           Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          1155.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          1156.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          1157.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          1158.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1159.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by de Flora, which speaks for itself. Responding

   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.

          1160.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by GSK, which speaks for itself. Responding

   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.

          1161.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information disseminated by GSK, which speaks for itself. Responding




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   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.

          1162.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          1163.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          1164.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK, which speaks for itself.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          1165.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information in a study conducted by GSK and information published

   by the University of Genoa, which speak for themselves. Responding further, GSK states that

   facts relating to the risk factors and complications of NDMA will be addressed through appropriate

   scientific, medical, or expert testimony.

          1166.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by de Flora, which speaks for itself. Responding

   further, GSK states that facts relating to the risk factors and complications of NDMA will be

   addressed through appropriate scientific, medical, or expert testimony.




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          1167.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published in an uncited study, which speaks for itself.

   Responding further, GSK states that facts relating to the risk factors and complications of NDMA

   will be addressed through appropriate scientific, medical, or expert testimony.

          1168.          Responding to this Paragraph, GSK denies that any conclusions can be

   drawn from the 2016 “Stanford study” because the study authors retracted the study and admitted

   their testing method was flawed and “that their NDMA measurements are not reliable.” See Teng

   Zeng & William A. Mitch, Retraction, Carcinogenesis (May 4, 2021).

          1169.          Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase information published by Valisure and information published by the

   FDA, which speak for themselves. GSK further denies that any conclusions can be drawn from

   the Valisure Citizen Petition based on gas chromatography because it is not a method recognized

   by FDA as an appropriate method for testing NDMA in ranitidine. Responding further, GSK

   denies any attempt by Plaintiffs or Valisure to characterize the facts relating to chemistry, benefits

   and potential risks of ranitidine. GSK states that facts relating to the risk factors and complications

   of NDMA will be addressed through appropriate scientific, medical, or expert testimony.

          1170.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this




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   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          1171.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          1172.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.




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          1173.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          1174.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1175.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks




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   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. GSK further states

   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.

          1176.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1177.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1178.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1179.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1180.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize




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   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and

   Plaintiffs’ doctors and therefore denies those allegations.

          1181.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          1182.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          1183.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants, Plaintiffs, and

   Plaintiffs’ physicians and therefore denies those allegations.

          1184.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1185.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining




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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1186.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          1187.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.




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          1188.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1189.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

         RESPONSE TO SECTION TITLED “SUB-COUNT V-1 ALABAMA: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1190.           GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1191.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.


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          1192.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1193.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1193, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT V-2 ALASKA: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1194.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1195.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1196.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1197.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.



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          Responding to the unnumbered statement following Paragraph 1197, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-3 ARIZONA: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                                PRECAUTIONS”

          1198.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1199.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1200.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1201.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1201, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT V-4 ARKANSAS: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1202.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1203.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1204.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1205.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1205, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT V-5 CALIFORNIA: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1206.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1207.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1208.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1209.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1209, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-6 COLORADO: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1210.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1211.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1212.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1213.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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           Responding to the unnumbered statement following Paragraph 1213, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT V-7 CONNECTICUT: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

           1214.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1215.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Conn. Gen.

   Stat. § 52¬572q, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1216.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1217.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1217, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT V-8 DISTRICT OF COLUMBIA:
      STRICT PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1218.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1219.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1220.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1221.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1221, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-9 FLORIDA: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1222.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1223.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1224.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1225.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1225, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT V-10 GEORGIA: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1226.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1227.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1228.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1229.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1229, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-11 HAWAII: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1230.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1231.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1232.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1233.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1233, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT V-12 IDAHO: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1234.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1235.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1236.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1237.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1237, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT V-13 ILLINOIS: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1238.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1239.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1240.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1241.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1241, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-14 INDIANA: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                                PRECAUTIONS”

          1242.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1243.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1244.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1245.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1245, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-15 KANSAS: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1246.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1247.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1248.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1249.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1249, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT V-16 KENTUCKY: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1250.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1251.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1252.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1253.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1253, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-17 LOUISIANA: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1254.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1255.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to La. Rev. Stat.




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   § 9:2800.53(9), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1256.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1257.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1257, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT V-18 MAINE: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

           1258.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1259.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           1260.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.



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          1261.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1261, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT V-19 MARYLAND: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1262.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1263.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1264.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1265.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1265, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT V-20 MICHIGAN: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1266.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1267.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1268.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1269.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1269, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT V-21 MINNESOTA: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1270.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1271.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1272.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1273.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1273, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT V-22 MISSISSIPPI: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1274.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1275.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1276.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1277.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1277, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT V-23 MISSOURI: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1278.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1279.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1280.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1281.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1281, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT V-24 MONTANA: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1282.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1283.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1284.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1285.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1285, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-25 NEBRASKA: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1286.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1287.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1288.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1289.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1289, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT V-26 NEVADA: STRICT
           PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                                PRECAUTIONS”

          1290.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1291.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1292.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1293.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1293, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT V-27 NEW HAMPSHIRE: STRICT
        PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                             PRECAUTIONS”

          1294.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1295.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1296.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1297.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1297, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT V-28 NEW JERSEY: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1298.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1299.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1300.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1301.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1301, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT V-29 NEW MEXICO: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1302.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1303.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Roche Labs.,




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   Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it.

          1304.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1305.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1305, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-30 NEW YORK: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1306.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1307.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1308.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1309.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1309, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT V-31 NORTH DAKOTA: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1310.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1311.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1312.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1313.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1313, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT V-32 OHIO: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1314.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1315.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1316.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1317.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1317, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT V-33 OKLAHOMA: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1318.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1319.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1320.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1321.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1321, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT V-34 OREGON: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1322.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1323.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1324.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1325.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1325, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT V-35 PUERTO RICO: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1326.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1327.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1328.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1329.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1329, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT V-36 RHODE ISLAND: STRICT
        PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                             PRECAUTIONS”

          1330.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1331.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1332.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1333.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1333, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT V-37 SOUTH CAROLINA: STRICT
        PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                             PRECAUTIONS”

          1334.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1335.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1336.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1337.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1337, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT V-38 SOUTH DAKOTA: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1338.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1339.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1340.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1341.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1341, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-39 TENNESSEE: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1342.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1343.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1344.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1345.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1345, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT V-40 TEXAS: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1346.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1347.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1348.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1349.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1349, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT V-41 UTAH: STRICT PRODUCTS
      LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS”

          1350.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1351.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1352.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing


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   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1353.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1353, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-42 VERMONT: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1354.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1355.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1356.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1357.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1357, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to


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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT V-43 WASHINGTON: STRICT
         PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

           1358.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1359.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to RCW

   7.72.030(1)(b), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1360.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1361.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1361, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT V-44 WEST VIRGINIA: STRICT
        PRODUCTS LIABILITY— DESIGN DEFECT DUE TO WARNINGS AND
                              PRECAUTIONS”

          1362.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1363.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1364.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1365.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1365, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-45 WISCONSIN: STRICT
          PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

          1366.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1367.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Wis. Stat. §




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   895.047(a)(1), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1368.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1369.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1369, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT V-46 WYOMING: STRICT
         PRODUCTS LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND
                               PRECAUTIONS”

           1370.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1371.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

           1372.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1373.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1373, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “COUNT VI: STRICT PRODUCTS LIABILITY –
           DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

          1374.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1375.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1376.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information



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   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1377.           Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          1378.           Responding to this Paragraph, GSK states that facts relating to the risk

   factors and complications of NDMA will be addressed through appropriate scientific, medical, or

   expert testimony.

          1379.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK further states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          1380.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks

   of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1381.           GSK denies Plaintiffs’ characterization of the state of scientific knowledge

   more properly left to expert testimony and further denies each and every allegation in this

   Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks




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   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          1382.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.137, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

          1383.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to 21 C.F.R. §

   211.166, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it.

          1384.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that it is aware of regulations applicable to storage conditions and that those

   regulations speak for themselves. The remaining allegations in this Paragraph are not directed at

   GSK and therefore require no response from GSK. To the extent a response is required, GSK

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          1385.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.




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          1386.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1387.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that its Zantac products contained FDA-

   approved labeling and prescribing information, which speaks for itself, but denies any attempt by

   Plaintiffs to interpret or characterize it. GSK further states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          1388.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1389.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the




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   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1390.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and Plaintiffs and

   therefore denies those allegations.

          1391.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1392.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1393.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1394.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.




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          1395.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1396.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1397.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1398.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no




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   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1399.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1400.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1401.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.




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        RESPONSE TO SECTION TITLED “SUB-COUNT VI-1 ALABAMA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1402.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1403.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1404.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1405.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1405, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-2 ALASKA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1406.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1407.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1408.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1409.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1409, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-3 ARIZONA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1410.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1411.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1412.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1413.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1413, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-4 ARKANSAS: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                DATES”

          1414.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1415.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1416.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1417.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1417, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VI-5 CALIFORNIA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1418.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1419.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1420.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1421.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1421, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-6 COLORADO: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1422.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1423.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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           1424.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1425.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1425, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-7 CONNECTICUT: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

           1426.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1427.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Conn. Gen.

   Stat. § 52¬572q, which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1428.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1429.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1429, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-8 DISTRICT OF COLUMBIA:
        STRICT PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER
                            EXPIRATION DATES”

          1430.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1431.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1432.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1433.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1433, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT VI-9 FLORIDA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1434.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1435.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1436.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1437.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1437, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-10 GEORGIA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1438.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1439.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1440.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1441.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1441, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-11 HAWAII: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1442.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1443.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1444.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1445.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1445, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-12 IDAHO: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

          1446.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1447.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1448.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1449.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1449, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT VI-13 ILLINOIS: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1450.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1451.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1452.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1453.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1453, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-14 INDIANA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1454.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1455.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1456.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1457.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1457, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-15 KANSAS: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1458.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1459.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1460.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1461.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1461, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-16 KENTUCKY: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1462.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1463.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1464.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1465.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1465, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VI-17 LOUISIANA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

           1466.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1467.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to La. Rev. Stat.

   § 9:2800.53(9), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1468.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1469.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1469, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT VI-18 MAINE: STRICT PRODUCTS
      LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

           1470.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          1471.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1472.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1473.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1473, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-19 MARYLAND: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1474.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1475.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1476.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1477.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1477, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-20 MICHIGAN: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1478.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1479.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1480.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1481.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1481, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT VI-21 MINNESOTA: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1482.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1483.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1484.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1485.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1485, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-22 MISSISSIPPI: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1486.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1487.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1488.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1489.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1489, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-23 MISSOURI: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1490.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1491.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1492.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1493.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1493, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-24 MONTANA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1494.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1495.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1496.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1497.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1497, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VI-25 NEBRASKA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1498.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1499.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1500.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1501.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1501, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-26 NEVADA: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1502.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1503.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1504.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1505.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1505, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-27 NEW HAMPSHIRE: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1506.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1507.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1508.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1509.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1509, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT VI-28 NEW JERSEY: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1510.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1511.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1512.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1513.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1513, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VI-29 NEW MEXICO: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1514.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1515.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to Roche Labs.,

   Div. of Hoffman-LaRoche, Inc., 101 N.M. 522, 524 (N.M. Ct. App. 1984), which speaks for itself,

   but denies any attempt by Plaintiffs to interpret or characterize it.

          1516.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1517.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1517, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-30 NEW YORK: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1518.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          1519.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1520.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1521.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1521, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-31 NORTH DAKOTA: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1522.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1523.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1524.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1525.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1525, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-32 OHIO: STRICT PRODUCTS
      LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

          1526.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1527.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1528.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1529.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1529, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT VI-33 OKLAHOMA: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1530.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1531.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1532.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1533.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1533, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT VI-34 OREGON: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1534.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1535.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1536.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1537.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1537, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-35 PUERTO RICO: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1538.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1539.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1540.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1541.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1541, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-36 RHODE ISLAND: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1542.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1543.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1544.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1545.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1545, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT VI-37 SOUTH CAROLINA: STRICT
    PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1546.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1547.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1548.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1549.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1549, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-38 SOUTH DAKOTA: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1550.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1551.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.




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          1552.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1553.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1553, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-39 TENNESSEE: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1554.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1555.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1556.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1557.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.


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          Responding to the unnumbered statement following Paragraph 1557, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-40 TEXAS: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

          1558.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1559.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1560.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1561.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1561, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VI-41 UTAH: STRICT PRODUCTS
       LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES”

          1562.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.


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          1563.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1564.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1565.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1565, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-42 VERMONT: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1566.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1567.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1568.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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           1569.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1569, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-43 WASHINGTON: STRICT
     PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

           1570.         GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

           1571.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required and GSK admits only that this Paragraph purports to refer to RCW

   7.72.030(1)(b), which speaks for itself, but denies any attempt by Plaintiffs to interpret or

   characterize it.

           1572.         GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

           1573.         GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

           Responding to the unnumbered statement following Paragraph 1573, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VI-44 WEST VIRGINIA: STRICT
      PRODUCTS LIABILITY— DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                  DATES”

          1574.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1575.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1576.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1577.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1577, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VI-45 WISCONSIN: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1578.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          1579.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1580.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.

          1581.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1581, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “`SUB-COUNT VI-46 WYOMING: STRICT
      PRODUCTS LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION
                                 DATES”

          1582.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1583.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1584.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that its Zantac products contained FDA-approved labeling and prescribing

   information, which speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize

   it. GSK lacks knowledge or information sufficient to form a belief as to the truth of the remaining

   allegations of this Paragraph and therefore denies those allegations.


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          1585.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1585, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “COUNT VII: NEGLIGENT FAILURE TO TEST”

          1586.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1587.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1588.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1589.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that this Paragraph purports to refer to a publication by Valisure, which

   speaks for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining


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   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations. GSK further denies that any conclusions can be drawn from the Valisure Citizen

   Petition based on gas chromatography because it is not a method recognized by FDA as an

   appropriate method for testing NDMA in ranitidine. Responding further, GSK denies any attempt

   by Plaintiffs or Valisure to characterize the state of scientific knowledge, literature, and facts

   relating to chemistry, benefits, and potential risks of ranitidine. GSK states that facts relating to

   the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1590.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1591.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1592.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1593.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and




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   therefore denies those allegations. GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          1594.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          1595.           GSK denies each and every allegation in this Paragraph as to itself and denies

   any attempt by Plaintiffs to interpret or characterize the referenced studies, which speak for

   themselves. The remaining allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations. GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          1596.           GSK denies each and every allegation in this Paragraph as to itself and denies

   any attempt by Plaintiffs to interpret or characterize any actions taken or not taken by FDA or the

   “broader market,” which speak for themselves. The remaining allegations in this Paragraph are

   not directed at GSK and therefore require no response from GSK. To the extent a response is

   required, GSK lacks knowledge or information sufficient to form a belief as to the truth of the




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   allegations of this Paragraph as to other Defendants and therefore denies those allegations.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1597.          GSK denies each and every allegation in this Paragraph as to itself, except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1598.          GSK denies each and every allegation in this Paragraph as to itself and denies

   any attempt by Plaintiffs to interpret or characterize uncited studies, which speak for themselves.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1599.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK states that facts relating to the




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   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1600.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1601.           GSK denies each and every allegation in this Paragraph as to itself and denies

   any attempt by Plaintiffs to interpret or characterize any actions taken or not taken by FDA, other

   manufacturers and laboratories, the medical community, and Defendants, which speak for

   themselves. The remaining allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations. Responding further, GSK states that facts

   relating to the chemistry, benefits, and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          1602.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK states that facts relating to the




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   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1603.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK Defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1604.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1605.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1606.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations. GSK further states




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   that facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed

   through appropriate scientific, medical, or expert testimony.

          1607.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1608.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

      RESPONSE TO SECTION TITLED “SUB-COUNT VII-1 KANSAS: NEGLIGENT
                            FAILURE TO TEST”

          1609.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1610.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1611.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1612.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient




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   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1613.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1614.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1614, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT VII-2 TEXAS: NEGLIGENT
                             FAILURE TO TEST”

          1615.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1616.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1617.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.



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          1618.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1619.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          1620.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 1620, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “COUNT VIII: NEGLIGENT PRODUCT
                                CONTAINERS”

          1621.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no



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   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1622.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1623.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1624.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1625.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          1626.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          1627.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK lacks knowledge or information sufficient to form a belief as to the truth




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   of the allegations of this Paragraph regarding Plaintiffs’ product usage and therefore denies those

   allegations.

           1628.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

           1629.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph and all its subparts, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

           1630.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding further, GSK admits only that this Paragraph

   purports to refer to an FDA publication, which speaks for itself, but denies any attempt by Plaintiffs

   to interpret or characterize it.

           1631.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself.

           1632.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient




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   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1633.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1634.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-1 ALABAMA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1635.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1636.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1637.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.




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          1638.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1638, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT VIII-2 ALASKA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1639.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1640.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1641.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1642.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response



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   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1642, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-3 ARIZONA: NEGLIGENT
                         PRODUCT CONTAINERS”

          1643.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1644.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1645.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1646.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and



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   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1646, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-4 ARKANSAS: NEGLIGENT
                          PRODUCT CONTAINERS”

          1647.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1648.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1649.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1650.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1650, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-5 CALIFORNIA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1651.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1652.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1653.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1654.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.



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          Responding to the unnumbered statement following Paragraph 1654, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-6 COLORADO: NEGLIGENT
                         PRODUCT CONTAINERS”

          1655.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1656.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1657.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1658.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1658, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to



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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT VIII-7 CONNECTICUT:
                      NEGLIGENT PRODUCT CONTAINERS”

          1659.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1660.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1661.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1662.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1662, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.



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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-8 DELAWARE: NEGLIGENT
                          PRODUCT CONTAINERS”

          1663.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1664.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1665.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1666.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1666, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-9 DISTRICT OF COLUMBIA:
                    NEGLIGENT PRODUCT CONTAINERS”

          1667.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1668.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1669.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1670.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1670, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-10 FLORIDA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1671.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1672.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1673.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1674.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1674, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-11 GEORGIA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1675.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1676.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1677.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1678.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1678, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT VIII-12 HAWAII: NEGLIGENT
                          PRODUCT CONTAINERS”

          1679.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1680.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1681.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1682.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1682, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-13 IDAHO: NEGLIGENT
                           PRODUCT CONTAINERS”

          1683.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1684.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1685.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1686.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1686, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-14 ILLINOIS: NEGLIGENT
                          PRODUCT CONTAINERS”

          1687.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1688.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1689.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1690.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1690, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-15 INDIANA: NEGLIGENT
                         PRODUCT CONTAINERS”

          1691.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1692.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1693.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1694.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1694, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-16 IOWA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1695.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1696.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1697.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1698.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1698, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT VIII-17 KANSAS: NEGLIGENT
                          PRODUCT CONTAINERS”

          1699.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1700.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1701.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1702.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1702, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-18 KENTUCKY: NEGLIGENT
                          PRODUCT CONTAINERS”

          1703.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1704.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1705.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1706.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1706, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-19 LOUISIANA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1707.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1708.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1709.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1710.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1710, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT VIII-20 MAINE: NEGLIGENT
                          PRODUCT CONTAINERS”

          1711.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1712.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1713.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1714.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1714, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-21 MARYLAND: NEGLIGENT
                          PRODUCT CONTAINERS”

          1715.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1716.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1717.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1718.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1718, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-22 MASSACHUSETTS:
                     NEGLIGENT PRODUCT CONTAINERS”

          1719.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1720.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1721.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1722.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1722, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-23 MICHIGAN: NEGLIGENT
                         PRODUCT CONTAINERS”

          1723.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1724.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1725.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1726.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1726, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-24 MINNESOTA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1727.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1728.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1729.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1730.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1730, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-25 MISSISSIPPI: NEGLIGENT
                          PRODUCT CONTAINERS”

          1731.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1732.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1733.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1734.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1734, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-26 MISSOURI: NEGLIGENT
                          PRODUCT CONTAINERS”

          1735.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1736.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1737.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1738.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1738, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-27 MONTANA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1739.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1740.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1741.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1742.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1742, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-28 NEBRASKA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1743.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1744.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1745.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1746.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1746, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-29 NEVADA: NEGLIGENT
                         PRODUCT CONTAINERS”

          1747.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1748.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1749.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1750.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1750, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-30 NEW HAMPSHIRE:
                     NEGLIGENT PRODUCT CONTAINERS”

          1751.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1752.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1753.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1754.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1754, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT VIII-31 NEW JERSEY: NEGLIGENT
                         PRODUCT CONTAINERS”

          1755.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1756.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1757.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1758.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1758, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT VIII-32 NEW MEXICO:
                      NEGLIGENT PRODUCT CONTAINERS”

          1759.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1760.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1761.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1762.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1762, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-33 NEW YORK: NEGLIGENT
                          PRODUCT CONTAINERS”

          1763.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1764.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1765.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1766.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1766, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-34 NORTH CAROLINA:
                     NEGLIGENT PRODUCT CONTAINERS”

          1767.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1768.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1769.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1770.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1770, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT VIII-35 NORTH DAKOTA:
                     NEGLIGENT PRODUCT CONTAINERS”

          1771.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1772.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1773.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1774.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1774, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-36 OHIO: NEGLIGENT
                          PRODUCT CONTAINERS”

          1775.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1776.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1777.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1778.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1778, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-37 OKLAHOMA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1779.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1780.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1781.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1782.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1782, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-38 OREGON: NEGLIGENT
                          PRODUCT CONTAINERS”

          1783.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1784.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1785.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1786.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1786, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT VIII-39 PENNSYLVANIA:
                      NEGLIGENT PRODUCT CONTAINERS”

          1787.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1788.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1789.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1790.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1790, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT VIII-40 PUERTO RICO:
                      NEGLIGENT PRODUCT CONTAINERS”

          1791.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1792.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1793.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1794.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1794, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT VIII-41 RHODE ISLAND:
                      NEGLIGENT PRODUCT CONTAINERS”

          1795.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1796.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1797.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1798.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1798, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-42 SOUTH CAROLINA:
                     NEGLIGENT PRODUCT CONTAINERS”

          1799.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1800.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1801.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1802.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1802, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT VIII-43 SOUTH DAKOTA:
                      NEGLIGENT PRODUCT CONTAINERS”

          1803.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1804.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1805.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1806.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1806, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-44 TENNESSEE: NEGLIGENT
                          PRODUCT CONTAINERS”

          1807.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1808.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1809.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1810.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1810, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-45 TEXAS: NEGLIGENT
                          PRODUCT CONTAINERS”

          1811.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1812.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1813.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1814.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.       Further responding, GSK states that facts

   relating to the chemistry, benefits and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1814, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT VIII-46 UTAH: NEGLIGENT
                          PRODUCT CONTAINERS”

          1815.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1816.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1817.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1818.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1818, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-47 VERMONT: NEGLIGENT
                          PRODUCT CONTAINERS”

          1819.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1820.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1821.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1822.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1822, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT VIII-48 VIRGINIA: NEGLIGENT
                          PRODUCT CONTAINERS”

          1823.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1824.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1825.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1826.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1826, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT VIII-49 WASHINGTON:
                      NEGLIGENT PRODUCT CONTAINERS”

          1827.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1828.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1829.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1830.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1830, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT VIII-50 WEST VIRGINIA:
                      NEGLIGENT PRODUCT CONTAINERS”

          1831.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1832.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1833.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1834.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1834, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-51 WISCONSIN: NEGLIGENT
                          PRODUCT CONTAINERS”

          1835.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1836.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1837.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1838.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1838, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT VIII-52 WYOMING: NEGLIGENT
                         PRODUCT CONTAINERS”

          1839.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1840.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1841.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1842.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.       Further responding, GSK states that facts

   relating to the chemistry, benefits and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1842, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “COUNT IX: NEGLIGENT STORAGE AND
                             TRANSPORTATION”

          1843.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1844.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as to itself as though fully contained here.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and therefore denies those allegations.

          1845.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1846.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph, GSK states that facts relating to the chemistry, benefits, and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.

          1847.          GSK denies each and every allegation in this Paragraph except that GSK

   admits only that it is aware of applicable regulations and specifications, which speak for

   themselves, but denies any attempt by Plaintiffs to characterize or paraphrase such regulations and

   specifications. The remaining allegations in this Paragraph are not directed at GSK and therefore



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   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          1848.           Responding to this Paragraph, GSK states that facts relating to the chemistry,

   benefits, and potential risks of ranitidine will be addressed through appropriate scientific, medical,

   or expert testimony.

          1849.           GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations. Responding to this Paragraph, GSK states that facts relating to

   the chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1850.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase regulations published by the FDA, which speak for themselves. GSK

   denies each and every allegation in this Paragraph as to itself except that GSK admits only that

   certain of the GSK defendants at relevant times were engaged in the business of manufacturing,

   marketing, selling, or distributing Zantac in the United States. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and therefore denies those allegations.




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          1851.           Responding to this Paragraph, GSK denies any attempt by Plaintiffs to

   characterize or paraphrase the results of testing in the published literature, by regulatory

   authorities, and by GSK, using appropriate analytical methods, which have shown variability in

   amount of NDMA, and such results speak for themselves. Responding further, GSK states that

   facts relating to the chemistry, benefits, and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          1852.           GSK denies each and every allegation in this Paragraph as to itself and states

   that the results of testing in the published literature, by regulatory authorities, and by GSK, using

   appropriate analytical methods, has shown variability in amount of NDMA, and such results speak

   for themselves. GSK further states that facts relating to the chemistry, benefits, and potential risks

   of ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1853.           GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph, GSK denies any attempt by Plaintiffs to characterize or paraphrase

   the language of any label for any given formulation at any given point in time, such labels speak

   for themselves. The remaining allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.




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          1854.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1855.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times sourced and handled

   API, and that GSK is aware of regulations and specifications governing API, which speak for

   themselves, GSK denies any attempt by Plaintiffs to interpret or characterize the regulations and

   specifications. The remaining allegations in this Paragraph are not directed at GSK and therefore

   require no response from GSK. To the extent a response is required, GSK lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this Paragraph as to other

   Defendants and therefore denies those allegations.

          1856.           GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient




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   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1857.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States and that

   this Paragraph purports to refer to documents produced by Defendants, which speak for

   themselves, but denies any attempt by Plaintiffs to interpret or characterize them. Responding

   further, GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1858.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1859.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient




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   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1860.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1861.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding further, GSK states that facts relating to the chemistry, benefits, and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1862.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph as to itself and therefore denies those allegations. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.




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          1863.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK states that facts relating to the

   chemistry, benefits, and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          1864.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will

   be addressed through appropriate scientific, medical, or expert testimony.            The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1865.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK states that facts relating to the chemistry, benefits, and potential risks of ranitidine will

   be addressed through appropriate scientific, medical, or expert testimony.            The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations.

          1866.          GSK denies each and every allegation in this Paragraph as to itself.

   Responding to this Paragraph, GSK states that facts relating to the chemistry, benefits and potential

   risks of ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

   The remaining allegations in this Paragraph are not directed at GSK and therefore require no

   response from GSK. To the extent a response is required, GSK lacks knowledge or information




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   sufficient to form a belief as to the truth of the allegations of this Paragraph as to other Defendants

   and Plaintiffs and therefore denies those allegations.

          1867.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations. Responding to

   this Paragraph, GSK states that facts relating to the chemistry, benefits and potential risks of

   ranitidine will be addressed through appropriate scientific, medical, or expert testimony.

          1868.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          1869.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

      RESPONSE TO SECTION TITLED “SUB-COUNT IX-1 ALABAMA: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1870.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1871.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1872.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response



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   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1873.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1873, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT IX-2 ALASKA: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1874.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1875.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1876.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient




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   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1877.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1877, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT IX-3 ARIZONA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1878.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1879.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1880.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.



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          1881.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1881, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IX-4 ARKANSAS: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1882.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1883.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1884.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1885.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response



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   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1885, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT IX-5 CALIFORNIA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1886.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1887.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1888.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1889.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and



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   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1889, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IX-6 COLORADO: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1890.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1891.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1892.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1893.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1893, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT IX-7 CONNECTICUT: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1894.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1895.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1896.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1897.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.



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          Responding to the unnumbered statement following Paragraph 1897, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IX-8 DELAWARE: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1898.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1899.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1900.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1901.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1901, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to



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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT IX-9 DISTRICT OF COLUMBIA:
                NEGLIGENT STORAGE AND TRANSPORTATION”

          1902.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1903.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1904.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1905.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1905, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.



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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-10 FLORIDA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1906.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1907.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1908.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1909.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1909, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-11 GEORGIA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1910.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1911.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1912.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1913.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1913, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-12 HAWAII: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1914.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1915.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1916.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1917.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1917, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-13 IDAHO: NEGLIGENT
                       STORAGE AND TRANSPORTATION”

          1918.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1919.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1920.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1921.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1921, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-14 ILLINOIS: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1922.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1923.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1924.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1925.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1925, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-15 INDIANA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1926.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1927.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1928.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1929.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1929, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-16 IOWA: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1930.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1931.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1932.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1933.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1933, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-17 KANSAS: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1934.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1935.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1936.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1937.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1937, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-18 KENTUCKY: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1938.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1939.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1940.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1941.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1941, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-19 LOUISIANA: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1942.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1943.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1944.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1945.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1945, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT IX-20 MAINE: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1946.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1947.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1948.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1949.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1949, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-21 MARYLAND: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1950.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1951.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1952.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1953.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1953, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-22 MASSACHUSETTS:
                NEGLIGENT STORAGE AND TRANSPORTATION”

          1954.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1955.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1956.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1957.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1957, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-23 MICHIGAN: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1958.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1959.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1960.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1961.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1961, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-24 MINNESOTA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1962.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1963.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1964.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1965.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1965, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-25 MISSISSIPPI: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1966.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1967.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1968.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1969.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1969, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-26 MISSOURI: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1970.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1971.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1972.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1973.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1973, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-27 MONTANA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1974.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1975.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1976.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1977.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1977, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-28 NEBRASKA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1978.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1979.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1980.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1981.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1981, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-29 NEVADA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1982.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1983.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1984.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1985.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1985, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-30 NEW HAMPSHIRE:
                NEGLIGENT STORAGE AND TRANSPORTATION”

          1986.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1987.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1988.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1989.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1989, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-31 NEW JERSEY: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1990.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1991.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1992.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1993.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1993, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT IX-32 NEW MEXICO: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          1994.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1995.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          1996.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          1997.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 1997, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-33 NEW YORK: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          1998.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          1999.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2000.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2001.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2001, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-34 NORTH CAROLINA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2002.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2003.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2004.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2005.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2005, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT IX-35 NORTH DAKOTA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2006.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2007.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2008.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2009.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2009, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-36 OHIO: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          2010.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2011.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2012.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2013.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2013, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-37 OKLAHOMA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2014.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2015.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2016.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2017.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2017, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT IX-38 OREGON: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2018.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2019.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2020.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2021.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2021, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT IX-39 PENNSYLVANIA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2022.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2023.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2024.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2025.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2025, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT IX-40 PUERTO RICO:
                  NEGLIGENT STORAGE AND TRANSPORTATION”

          2026.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2027.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2028.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2029.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2029, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT IX-41 RHODE ISLAND:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2030.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2031.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2032.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2033.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2033, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-42 SOUTH CAROLINA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2034.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2035.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2036.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2037.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2037, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT IX-43 SOUTH DAKOTA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2038.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2039.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2040.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2041.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2041, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-44 TENNESSEE: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2042.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2043.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2044.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2045.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2045, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT IX-45 TEXAS: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          2046.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2047.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2048.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2049.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2049, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT IX-46 UTAH: NEGLIGENT
                      STORAGE AND TRANSPORTATION”

          2050.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2051.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2052.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2053.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2053, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-47 VERMONT: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2054.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2055.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2056.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2057.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2057, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-48 VIRGINIA: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2058.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2059.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2060.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2061.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2061, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT IX-49 WASHINGTON:
                  NEGLIGENT STORAGE AND TRANSPORTATION”

          2062.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2063.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2064.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2065.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2065, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “SUB-COUNT IX-50 WEST VIRGINIA:
                 NEGLIGENT STORAGE AND TRANSPORTATION”

          2066.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2067.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2068.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2069.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2069, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT IX-51 WISCONSIN: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2070.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2071.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2072.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2073.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2073, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT IX-52 WYOMING: NEGLIGENT
                     STORAGE AND TRANSPORTATION”

          2074.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2075.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2076.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   therefore denies those allegations.

          2077.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          Responding to the unnumbered statement following Paragraph 2077, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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          RESPONSE TO SECTION TITLED “COUNT X: UNJUST ENRICHMENT”

          2078.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2079.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States, and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          2080.          GSK denies each and every allegation in this Paragraph as to itself except

   that GSK admits only that certain of the GSK defendants at relevant times were engaged in the

   business of manufacturing, marketing, selling, or distributing Zantac in the United States, and that

   its Zantac products contained FDA-approved labeling and prescribing information, which speaks

   for itself, but denies any attempt by Plaintiffs to interpret or characterize it. The remaining

   allegations in this Paragraph are not directed at GSK and therefore require no response from GSK.

   To the extent a response is required, GSK lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this Paragraph as to other Defendants and therefore denies

   those allegations. Further responding, GSK states that facts relating to the chemistry, benefits and

   potential risks of ranitidine will be addressed through appropriate scientific, medical, or expert

   testimony.


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          2081.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States, and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          2082.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and Plaintiffs and therefore denies those allegations.

          2083.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States. The remaining allegations in this Paragraph are not directed at GSK




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   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and Plaintiffs and therefore denies those allegations.

          2084.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States, and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          2085.         GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States, and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. The remaining allegations in this Paragraph are not directed at GSK and

   therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and Plaintiffs and therefore denies those allegations. Further




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   responding, GSK states that facts relating to the chemistry, benefits and potential risks of ranitidine

   will be addressed through appropriate scientific, medical, or expert testimony.

          2086.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself except that GSK admits only that certain of the GSK defendants at

   relevant times were engaged in the business of manufacturing, marketing, selling, or distributing

   Zantac in the United States, and that its Zantac products contained FDA-approved labeling and

   prescribing information, which speaks for itself, but denies any attempt by Plaintiffs to interpret

   or characterize it. GSK further denies any attempt by Plaintiffs to interpret or characterize any

   actions taken or not taken by FDA, which speaks for itself. The remaining allegations in this

   Paragraph are not directed at GSK and therefore require no response from GSK. To the extent a

   response is required, GSK lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations of this Paragraph as to other Defendants and Plaintiffs and therefore denies those

   allegations.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-1 ALABAMA: UNJUST
                               ENRICHMENT”

          2087.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2088.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2089.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and



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   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating

   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2090.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2090, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT X-2 ALASKA: UNJUST
                               ENRICHMENT”

          2091.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2092.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2093.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating



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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2094.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2094, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT X-3 ARIZONA: UNJUST
                                ENRICHMENT”

          2095.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2096.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2097.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2098.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2098, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-4 ARKANSAS: UNJUST
                                ENRICHMENT”

          2099.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2100.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2101.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2102.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2102, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-5 CALIFORNIA: UNJUST
                              ENRICHMENT”

          2103.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2104.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2105.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2106.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2106, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-6 COLORADO: UNJUST
                               ENRICHMENT”

          2107.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2108.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2109.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2110.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2110, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT X-7 CONNECTICUT: UNJUST
                              ENRICHMENT”

          2111.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2112.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2113.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2114.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2114, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-8 DELAWARE: UNJUST
                               ENRICHMENT”

          2115.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2116.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2117.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2118.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2118, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-9 DISTRICT OF COLUMBIA:
                          UNJUST ENRICHMENT”

          2119.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2120.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2121.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2122.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2122, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-10 FLORIDA: UNJUST
                               ENRICHMENT”

          2123.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2124.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2125.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2126.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2126, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-11 GEORGIA: UNJUST
                                ENRICHMENT”

          2127.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2128.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2129.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2130.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2130, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT X-12 HAWAII: UNJUST
                                ENRICHMENT”

          2131.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2132.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2133.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2134.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2134, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT X-13 IDAHO: UNJUST
                                ENRICHMENT”

          2135.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2136.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2137.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2138.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2138, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-14 ILLINOIS: UNJUST
                               ENRICHMENT”

          2139.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2140.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2141.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2142.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2142, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-15 INDIANA: UNJUST
                               ENRICHMENT”

          2143.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2144.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2145.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2146.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2146, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT X-16 IOWA: UNJUST
                                ENRICHMENT”

          2147.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2148.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2149.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2150.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2150, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT X-17 KANSAS: UNJUST
                                ENRICHMENT”

          2151.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2152.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2153.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2154.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2154, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-18 KENTUCKY: UNJUST
                               ENRICHMENT”

          2155.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2156.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2157.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2158.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2158, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-19 LOUISIANA: UNJUST
                               ENRICHMENT”

          2159.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2160.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2161.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2162.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2162, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT X-20 MAINE: UNJUST
                                ENRICHMENT”

          2163.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2164.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2165.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2166.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2166, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-21 MARYLAND: UNJUST
                              ENRICHMENT”

          2167.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2168.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2169.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2170.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2170, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT X-22 MASSACHUSETTS: UNJUST
                             ENRICHMENT”

          2171.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2172.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2173.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2174.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2174, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-23 MICHIGAN: UNJUST
                               ENRICHMENT”

          2175.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2176.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2177.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2178.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2178, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-24 MINNESOTA: UNJUST
                              ENRICHMENT”

          2179.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2180.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2181.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2182.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2182, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-25 MISSISSIPPI: UNJUST
                              ENRICHMENT”

          2183.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2184.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2185.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2186.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2186, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-26 MISSOURI: UNJUST
                               ENRICHMENT”

          2187.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2188.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2189.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2190.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2190, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-27 MONTANA: UNJUST
                               ENRICHMENT”

          2191.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2192.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2193.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2194.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2194, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-28 NEBRASKA: UNJUST
                               ENRICHMENT”

          2195.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2196.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2197.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2198.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2198, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-29 NEVADA: UNJUST
                               ENRICHMENT”

          2199.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2200.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2201.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2202.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2202, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT X-30 NEW HAMPSHIRE: UNJUST
                             ENRICHMENT”

          2203.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2204.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2205.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2206.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2206, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-31 NEW JERSEY: UNJUST
                               ENRICHMENT”

          2207.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2208.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2209.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2210.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2210, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT X-32 NEW MEXICO: UNJUST
                              ENRICHMENT”

          2211.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2212.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2213.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2214.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2214, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-33 NEW YORK: UNJUST
                               ENRICHMENT”

          2215.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2216.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2217.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2218.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2218, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT X-34 NORTH CAROLINA: UNJUST
                              ENRICHMENT”

          2219.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2220.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2221.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2222.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2222, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-35 NORTH DAKOTA: UNJUST
                              ENRICHMENT”

          2223.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2224.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2225.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2226.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2226, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

            RESPONSE TO SECTION TITLED “SUB-COUNT X-36 OHIO: UNJUST
                                 ENRICHMENT”

          2227.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2228.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2229.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2230.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2230, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-37 OKLAHOMA: UNJUST
                               ENRICHMENT”

          2231.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2232.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2233.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2234.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2234, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-38 OREGON: UNJUST
                               ENRICHMENT”

          2235.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2236.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2237.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2238.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2238, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-39 PENNSYLVANIA: UNJUST
                              ENRICHMENT”

          2239.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2240.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2241.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2242.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2242, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT X-40 PUERTO RICO: UNJUST
                              ENRICHMENT”

          2243.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2244.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2245.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2246.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2246, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-41 RHODE ISLAND: UNJUST
                              ENRICHMENT”

          2247.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2248.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2249.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2250.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2250, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT X-42 SOUTH CAROLINA: UNJUST
                              ENRICHMENT”

          2251.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2252.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2253.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2254.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2254, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-43 SOUTH DAKOTA: UNJUST
                              ENRICHMENT”

          2255.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2256.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2257.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2258.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2258, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-44 TENNESSEE: UNJUST
                              ENRICHMENT”

          2259.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2260.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2261.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2262.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2262, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT X-45 TEXAS: UNJUST
                                ENRICHMENT”

          2263.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2264.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2265.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2266.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2266, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT X-46 UTAH: UNJUST
                                ENRICHMENT”

          2267.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2268.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2269.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2270.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2270, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-47 VERMONT: UNJUST
                               ENRICHMENT”

          2271.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2272.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2273.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2274.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2274, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT X-48 VIRGINIA: UNJUST
                                ENRICHMENT”

          2275.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2276.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2277.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2278.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2278, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT X-49 WASHINGTON: UNJUST
                              ENRICHMENT”

          2279.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2280.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2281.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2282.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2282, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT X-50 WEST VIRGINIA: UNJUST
                              ENRICHMENT

          2283.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2284.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2285.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2286.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2286, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT X-51 WISCONSIN: UNJUST
                               ENRICHMENT

          2287.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2288.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2289.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2290.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2290, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT X-52 WYOMING: UNJUST
                               ENRICHMENT”

          2291.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2292.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          2293.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations. Further responding, GSK states that facts relating




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   to the chemistry, benefits and potential risks of ranitidine will be addressed through appropriate

   scientific, medical, or expert testimony.

          2294.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

          Responding to the unnumbered statement following Paragraph 2294, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “COUNT XI: LOSS OF CONSORTIUM”

          2295.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs’ spouses and/or family members and therefore denies those allegations.

          2296.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs’ spouses and/or family members and therefore denies those allegations.




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          2297.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs’ spouses and/or family members and therefore denies those allegations.

          2298.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs’ spouses and/or family members and therefore denies those allegations.

          2299.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs’ spouses and/or family members and therefore denies those allegations.

          2300.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and Plaintiffs’ spouses and/or family members and therefore

   denies those allegations.




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        RESPONSE TO SECTION TITLED “SUB-COUNT XI-1 ALABAMA: LOSS OF
                               CONSORTIUM”

          2301.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2302.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2302, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XI-2 ALASKA: LOSS OF
                               CONSORTIUM”

          2303.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2304.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2304, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XI-3 ARIZONA: LOSS OF
                                CONSORTIUM”

          2305.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2306.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2306, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-4 ARKANSAS: LOSS OF
                               CONSORTIUM”

          2307.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2308.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2308, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-5 CALIFORNIA: LOSS OF
                              CONSORTIUM”

          2309.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2310.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2310, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-6 COLORADO: LOSS OF
                              CONSORTIUM”

          2311.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2312.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2312, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-7 CONNECTICUT: LOSS OF
                              CONSORTIUM”

          2313.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2314.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2314, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT XI-8 DELAWARE: LOSS OF
                              CONSORTIUM”

          2315.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2316.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2316, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-9 DISTRICT OF COLUMBIA:
                          LOSS OF CONSORTIUM”

          2317.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2318.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2318, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-10 FLORIDA: LOSS OF
                               CONSORTIUM”

          2319.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2320.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2320, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-11 GEORGIA: LOSS OF
                               CONSORTIUM”

          2321.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2322.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2322, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XI-12 HAWAII: LOSS OF
                               CONSORTIUM”

          2323.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2324.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2324, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XI-13 IDAHO: LOSS OF
                                CONSORTIUM”

          2325.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2326.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2326, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-14 ILLINOIS: LOSS OF
                               CONSORTIUM”

          2327.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2328.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2328, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT XI-15 INDIANA: LOSS OF
                               CONSORTIUM”

          2329.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2330.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2330, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XI-16 IOWA: LOSS OF
                               CONSORTIUM”

          2331.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2332.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2332, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XI-17 KANSAS: LOSS OF
                               CONSORTIUM”

          2333.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2334.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2334, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-18 KENTUCKY: LOSS OF
                               CONSORTIUM”

          2335.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2336.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2336, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-19 LOUISIANA: LOSS OF
                               CONSORTIUM”

          2337.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2338.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2338, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XI-20 MAINE: LOSS OF
                                CONSORTIUM”

          2339.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2340.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2340, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-21 MARYLAND: LOSS OF
                              CONSORTIUM”

          2341.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2342.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2342, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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   RESPONSE TO SECTION TITLED “SUB-COUNT XI-22 MASSACHUSETTS: LOSS OF
                             CONSORTIUM”

          2343.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2344.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2344, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-23 MICHIGAN: LOSS OF
                              CONSORTIUM”

          2345.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2346.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2346, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-24 MINNESOTA: LOSS OF
                              CONSORTIUM”

          2347.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2348.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2348, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-25 MISSISSIPPI: LOSS OF
                              CONSORTIUM”

          2349.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2350.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2350, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-26 MISSOURI: LOSS OF
                               CONSORTIUM”

          2351.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2352.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2352, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-27 MONTANA: LOSS OF
                              CONSORTIUM”

          2353.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2354.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2354, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-28 NEBRASKA: LOSS OF
                               CONSORTIUM”

          2355.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2356.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2356, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT XI-29 NEVADA: LOSS OF
                                CONSORTIUM”

          2357.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2358.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2358, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT XI-30 NEW HAMPSHIRE: LOSS OF
                             CONSORTIUM”

          2359.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2360.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2360, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-31 NEW JERSEY: LOSS OF
                              CONSORTIUM”

          2361.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2362.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2362, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-32 NEW MEXICO: LOSS OF
                              CONSORTIUM”

          2363.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2364.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2364, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-33 NEW YORK: LOSS OF
                               CONSORTIUM”

          2365.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2366.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2366, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XI-34 NORTH CAROLINA: LOSS
                            OF CONSORTIUM”

          2367.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2368.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2368, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XI-35 NORTH DAKOTA: LOSS OF
                              CONSORTIUM”

          2369.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2370.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2370, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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           RESPONSE TO SECTION TITLED “SUB-COUNT XI-36 OHIO: LOSS OF
                                CONSORTIUM”

          2371.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2372.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2372, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-37 OKLAHOMA: LOSS OF
                              CONSORTIUM”

          2373.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2374.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2374, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-38 OREGON: LOSS OF
                               CONSORTIUM”

          2375.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2376.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2376, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XI-39 PENNSYLVANIA: LOSS OF
                             CONSORTIUM”

          2377.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2378.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2378, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-40 PUERTO RICO: LOSS OF
                              CONSORTIUM”

          2379.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2380.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2380, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XI-41 RHODE ISLAND: LOSS OF
                             CONSORTIUM”

          2381.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2382.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2382, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-42 SOUTH CAROLINA: LOSS
                             OF CONSORTIUM”

          2383.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2384.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2384, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT XI-43 SOUTH DAKOTA: LOSS OF
                             CONSORTIUM”

          2385.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2386.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2386, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-44 TENNESSEE: LOSS OF
                              CONSORTIUM”

          2387.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2388.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2388, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XI-45 TEXAS: LOSS OF
                                CONSORTIUM”

          2389.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2390.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2390, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XI-46 UTAH: LOSS OF
                               CONSORTIUM”

          2391.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2392.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2392, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-47 VERMONT: LOSS OF
                              CONSORTIUM”

          2393.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2394.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2394, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XI-48 VIRGINIA: LOSS OF
                               CONSORTIUM”

          2395.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2396.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2396, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XI-49 WASHINGTON: LOSS OF
                              CONSORTIUM”

          2397.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2398.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2398, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT XI-50 WEST VIRGINIA: LOSS OF
                             CONSORTIUM”

          2399.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2400.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2400, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XI-51 WISCONSIN: LOSS OF
                              CONSORTIUM”

          2401.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2402.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2402, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XI-52 WYOMING: LOSS OF
                              CONSORTIUM”

          2403.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2404.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2404, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “COUNT XII: SURVIVAL ACTIONS”

          2405.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2406.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2407.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2408.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response


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   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2409.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2410.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2411.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and therefore denies those allegations.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-1 ALABAMA: SURVIVAL
                                ACTION”

          2412.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2413.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2413, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-2 ALASKA: SURVIVAL
                                ACTIONS”

          2414.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2415.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2415, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-3 ARIZONA: SURVIVAL
                                ACTIONS”

          2416.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2417.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2417, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-4 ARKANSAS: SURVIVAL
                                ACTIONS”

          2418.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2419.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2419, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-5 CALIFORNIA: SURVIVAL
                                ACTIONS”

          2420.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2421.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2421, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT XII-6 COLORADO: SURVIVAL
                                ACTIONS”

          2422.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2423.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2423, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-7 CONNECTICUT: SURVIVAL
                                ACTIONS”

          2424.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2425.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2425, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-8 DELAWARE: SURVIVAL
                                ACTIONS”

          2426.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2427.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2427, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-9 DISTRICT OF COLUMBIA:
                           SURVIVAL ACTIONS”

          2428.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2429.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2429, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-10 FLORIDA: SURVIVAL
                                ACTIONS”

          2430.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2431.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2431, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-11 GEORGIA: SURVIVAL
                                ACTIONS”

          2432.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2433.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2433, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-12 HAWAII: SURVIVAL
                                ACTIONS”

          2434.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2435.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2435, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT XII-13 IDAHO: SURVIVAL
                                 ACTIONS”

          2436.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2437.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2437, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-14 ILLINOIS: SURVIVAL
                                ACTIONS”

          2438.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2439.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2439, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-15 INDIANA: SURVIVAL
                                 ACTIONS”

          2440.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2441.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2441, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-16 IOWA: SURVIVAL
                                 ACTIONS”

          2442.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2443.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2443, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-17 KANSAS: SURVIVAL
                                ACTIONS”

          2444.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2445.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2445, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-18 KENTUCKY: SURVIVAL
                                ACTIONS”

          2446.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2447.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2447, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-19 LOUISIANA: SURVIVAL
                                ACTIONS”

          2448.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2449.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2449, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT XII-20 MAINE: SURVIVAL
                                 ACTIONS”

          2450.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2451.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2451, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-21 MARYLAND: SURVIVAL
                                ACTIONS”

          2452.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2453.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2453, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XII-22 MASSACHUSETTS:
                            SURVIVAL ACTIONS”

          2454.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2455.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2455, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-23 MICHIGAN: SURVIVAL
                                ACTIONS”

          2456.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2457.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2457, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-24 MINNESOTA: SURVIVAL
                                 ACTIONS”

          2458.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2459.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2459, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-25 MISSISSIPPI: SURVIVAL
                                ACTIONS”

          2460.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2461.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2461, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-26 MISSOURI: SURVIVAL
                                ACTIONS”

          2462.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2463.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2463, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT XII-27 MONTANA: SURVIVAL
                               ACTIONS”

          2464.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2465.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2465, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-28 NEBRASKA: SURVIVAL
                                ACTIONS”

          2466.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2467.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2467, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-29 NEVADA: SURVIVAL
                                ACTIONS”

          2468.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2469.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2469, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XII-30 NEW HAMPSHIRE:
                            SURVIVAL ACTIONS”

          2470.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2471.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2471, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-31 NEW JERSEY: SURVIVAL
                                ACTIONS”

          2472.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2473.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2473, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-32 NEW MEXICO: SURVIVAL
                                ACTIONS”

          2474.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2475.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2475, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-33 NEW YORK: SURVIVAL
                                ACTIONS”

          2476.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2477.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2477, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT XII-34 NORTH CAROLINA:
                            SURVIVAL ACTIONS”

          2478.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2479.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2479, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-35 NORTH DAKOTA:
                             SURVIVAL ACTIONS”

          2480.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2481.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2481, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-36 OHIO: SURVIVAL
                                 ACTIONS”

          2482.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2483.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2483, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-37 OKLAHOMA: SURVIVAL
                                 ACTIONS”

          2484.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2485.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2485, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XII-38 OREGON: SURVIVAL
                                ACTIONS”

          2486.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2487.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2487, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-39 PENNSYLVANIA:
                            SURVIVAL ACTIONS”

          2488.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2489.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2489, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-40 PUERTO RICO: SURVIVAL
                                ACTIONS”

          2490.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2491.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2491, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT XII-41 RHODE ISLAND:
                            SURVIVAL ACTIONS”

          2492.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2493.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2493, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XII-42 SOUTH CAROLINA:
                            SURVIVAL ACTIONS”

          2494.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2495.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2495, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-43 SOUTH DAKOTA:
                            SURVIVAL ACTIONS”

          2496.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2497.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2497, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-44 TENNESSEE: SURVIVAL
                                ACTIONS”

          2498.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2499.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2499, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XII-45 TEXAS: SURVIVAL
                                 ACTIONS”

          2500.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2501.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2501, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-46 UTAH: SURVIVAL
                                 ACTIONS”

          2502.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2503.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2503, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-47 VERMONT: SURVIVAL
                               ACTIONS”

          2504.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2505.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2505, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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      RESPONSE TO SECTION TITLED “SUB-COUNT XII-48 VIRGINIA: SURVIVAL
                                ACTIONS”

          2506.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2507.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2507, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XII-49 WASHINGTON: SURVIVAL
                                 ACTIONS”

          2508.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2509.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2509, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XII-50 WEST VIRGINIA:
                            SURVIVAL ACTIONS”

          2510.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2511.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2511, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-51 WISCONSIN: SURVIVAL
                                ACTIONS”

          2512.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2513.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2513, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XII-52 WYOMING: SURVIVAL
                                ACTIONS”

          2514.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2515.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2515, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “COUNT XIII: WRONGFUL DEATH”

          2516.          GSK lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this Paragraph and therefore denies those allegations.

          2517.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Decedents and therefore denies those allegations. Further responding, GSK states that facts

   relating to the chemistry, benefits and potential risks of ranitidine will be addressed through

   appropriate scientific, medical, or expert testimony.

          2518.          GSK denies each and every allegation in this Paragraph as to itself. The

   remaining allegations in this Paragraph are not directed at GSK and therefore require no response

   from GSK. To the extent a response is required, GSK lacks knowledge or information sufficient

   to form a belief as to the truth of the allegations of this Paragraph as to other Defendants and

   Plaintiffs and therefore denies those allegations.

          2519.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required. To the extent a response is required, GSK denies each and every allegation

   in this Paragraph as to itself. The remaining allegations in this Paragraph are not directed at GSK

   and therefore require no response from GSK. To the extent a response is required, GSK lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   Paragraph as to other Defendants and Plaintiffs and therefore denies those allegations.




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     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-1 ALABAMA: WRONGFUL
                                 DEATH”

          2520.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2521.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2521, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XIII-2 ALASKA: WRONGFUL
                                 DEATH”

          2522.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2523.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2523, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-3 ARIZONA: WRONGFUL
                                 DEATH”

          2524.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2525.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2525, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-4 ARKANSAS: WRONGFUL
                                  DEATH”

          2526.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2527.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2527, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-5 CALIFORNIA: WRONGFUL
                                 DEATH”

          2528.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2529.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2529, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-6 COLORADO: WRONGFUL
                                 DEATH”

          2530.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2531.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2531, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XIII-7 CONNECTICUT:
                             WRONGFUL DEATH”

          2532.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2533.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2533, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-8 DELAWARE: WRONGFUL
                                 DEATH”

          2534.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2535.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2535, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-9 DISTRICT OF COLUMBIA:
                           WRONGFUL DEATH”

          2536.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2537.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2537, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-10 FLORIDA: WRONGFUL
                                 DEATH”

          2538.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2539.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2539, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-11 GEORGIA: WRONGFUL
                                 DEATH”

          2540.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2541.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2541, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XIII-12 HAWAII: WRONGFUL
                                  DEATH”

          2542.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2543.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2543, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XIII-13 IDAHO: WRONGFUL
                                 DEATH”

          2544.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2545.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2545, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-14 ILLINOIS: WRONGFUL
                                 DEATH”

          2546.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2547.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2547, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-15 INDIANA: WRONGFUL
                                 DEATH”

          2548.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2549.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2549, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-16 IOWA: WRONGFUL
                                 DEATH”

          2550.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2551.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2551, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-17 KANSAS: WRONGFUL
                                 DEATH”

          2552.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2553.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2553, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-18 KENTUCKY: WRONGFUL
                                 DEATH”

          2554.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2555.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2555, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-19 LOUISIANA: WRONGFUL
                                 DEATH”

          2556.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2557.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2557, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XIII-20 MAINE: WRONGFUL
                                 DEATH”

          2558.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2559.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2559, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-21 MARYLAND: WRONGFUL
                                 DEATH”

          2560.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2561.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2561, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-22 MASSACHUSETTS:
                            WRONGFUL DEATH”

          2562.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2563.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2563, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-23 MICHIGAN: WRONGFUL
                                 DEATH”

          2564.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2565.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2565, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT XIII-24 MINNESOTA: WRONGFUL
                                DEATH”

          2566.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2567.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2567, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-25 MISSISSIPPI: WRONGFUL
                                 DEATH”

          2568.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2569.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2569, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-26 MISSOURI: WRONGFUL
                                  DEATH”

          2570.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2571.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2571, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-27 MONTANA: WRONGFUL
                                 DEATH”

          2572.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2573.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2573, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-28 NEBRASKA: WRONGFUL
                                 DEATH”

          2574.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2575.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2575, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-29 NEVADA: WRONGFUL
                                 DEATH”

          2576.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2577.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2577, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-30 NEW HAMPSHIRE:
                            WRONGFUL DEATH”

          2578.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2579.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2579, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

           RESPONSE TO SECTION TITLED “SUB-COUNT XIII-31 NEW JERSEY:
                             WRONGFUL DEATH”

          2580.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2581.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2581, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XIII-32 NEW MEXICO:
                             WRONGFUL DEATH”

          2582.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2583.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2583, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-33 NEW YORK: WRONGFUL
                                 DEATH”

          2584.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2585.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2585, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-34 NORTH CAROLINA:
                            WRONGFUL DEATH”

          2586.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2587.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2587, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

        RESPONSE TO SECTION TITLED “SUB-COUNT XIII-35 NORTH DAKOTA:
                            WRONGFUL DEATH”

          2588.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2589.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2589, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-36 OHIO: WRONGFUL
                                 DEATH”

          2590.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2591.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2591, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

   RESPONSE TO SECTION TITLED “SUB-COUNT XIII-37 OKLAHOMA: WRONGFUL
                                DEATH”

          2592.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2593.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2593, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-38 OREGON: WRONGFUL
                                 DEATH”

          2594.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2595.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2595, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XIII-39 PENNSYLVANIA:
                             WRONGFUL DEATH”

          2596.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2597.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2597, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XIII-40 PUERTO RICO:
                             WRONGFUL DEATH”

          2598.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2599.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2599, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

         RESPONSE TO SECTION TITLED “SUB-COUNT XIII-41 RHODE ISLAND:
                             WRONGFUL DEATH”

          2600.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2601.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2601, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-42 SOUTH CAROLINA:
                            WRONGFUL DEATH”

          2602.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2603.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2603, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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        RESPONSE TO SECTION TITLED “SUB-COUNT XIII-43 SOUTH DAKOTA:
                            WRONGFUL DEATH”

          2604.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2605.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2605, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-44 TENNESSEE: WRONGFUL
                                 DEATH”

          2606.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2607.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2607, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

      RESPONSE TO SECTION TITLED “SUB-COUNT XIII-45 TEXAS: WRONGFUL
                                 DEATH”

          2608.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2609.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2609, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

       RESPONSE TO SECTION TITLED “SUB-COUNT XIII-46 UTAH: WRONGFUL
                                 DEATH”

          2610.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2611.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2611, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-47 VERMONT: WRONGFUL
                                 DEATH”

          2612.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2613.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2613, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to




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   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

     RESPONSE TO SECTION TITLED “SUB-COUNT XIII-48 VIRGINIA: WRONGFUL
                                 DEATH”

          2614.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2615.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2615, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

          RESPONSE TO SECTION TITLED “SUB-COUNT XIII-49 WASHINGTON:
                             WRONGFUL DEATH”

          2616.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2617.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2617, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.




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         RESPONSE TO SECTION TITLED “SUB-COUNT XIII-50 WEST VIRGINIA:
                             WRONGFUL DEATH”

          2618.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2619.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2619, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-51 WISCONSIN: WRONGFUL
                                 DEATH”

          2620.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.

          2621.          GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2621, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

    RESPONSE TO SECTION TITLED “SUB-COUNT XIII-52 WYOMING: WRONGFUL
                                 DEATH”

          2622.          GSK incorporates by reference all of its responses to each of the allegations

   contained in the preceding paragraphs of this Answer as though fully contained here.




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          2623.           GSK denies the allegations of this Paragraph as conclusions of law to which

   no response is required.

          Responding to the unnumbered statement following Paragraph 2623, GSK respectfully

   refers the Court to Plaintiffs’ Complaint but denies that its conduct caused or contributed to

   Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs for damages or any other relief

   sought in the Complaint.

                  RESPONSE TO SECTION TITLED “JURY TRIAL DEMAND”

          2624.           GSK respectfully refers the Court to Plaintiffs’ Complaint but denies that its

   conduct caused or contributed to Plaintiffs’ alleged injuries and denies that it is liable to Plaintiffs

   for damages or any other relief sought in the Complaint.

                  RESPONSE TO SECTION TITLED “PRAYER FOR RELIEF”

          GSK admits that Plaintiffs seek the relief listed in the Prayer for Relief section and all of

   its subparts but denies that its conduct caused or contributed to Plaintiffs’ alleged injuries and

   denies that it is liable to Plaintiffs for damages or any other relief sought in the Complaint.

                                      AFFIRMATIVE DEFENSES

          By asserting the matters set forth below, GSK does not allege or admit that it has the burden

   of proof and/or the burden of persuasion with respect to any of these matters. GSK reserves its

   rights to seek to amend and supplement these Affirmative Defenses as may be appropriate or

   necessary. GSK asserts as follows:

                                  FIRST AFFIRMATIVE DEFENSE

          Plaintiffs’ Complaint, in whole or in part, fails to state a claim or cause of action upon

   which relief can be granted.




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                                SECOND AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred because Plaintiffs cannot proffer any scientifically reliable

   evidence that the product at issue was defective or unreasonably dangerous.

                                 THIRD AFFIRMATIVE DEFENSE

           Without admitting that the product at issue was manufactured and/or sold by GSK, to the

   extent GSK had any duty with respect to the sale and/or manufacture of the product, such duty was

   fully discharged by the giving of adequate instructions and warnings concerning its use.

                                FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ alleged injuries and/or medical expenses resulted from pre-existing or unrelated

   medical, psychiatric, genetic, or environmental conditions, diseases, or illnesses.

                                  FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of federal preemption.

                                 SIXTH AFFIRMATIVE DEFENSE

           If Plaintiffs suffered injuries and damages by reason of operation of nature or idiosyncratic

   and/or allergic reaction to the product, used whether alone or in combination with any drug, GSK

   is not liable.

                               SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred or reduced under the principles of assumption of the risk and/or

   informed consent.

                                EIGHTH AFFIRMATIVE DEFENSE

           Plaintiffs’ recovery, if any, from GSK should be reduced, offset, or barred by the

   contributory or comparative negligence, fault, responsibility, or causation attributable to Plaintiffs

   to some third party other than GSK.




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                                 NINTH AFFIRMATIVE DEFENSE

          Plaintiffs’ injuries and damages, if any, were caused in whole or in part by an alteration,

   change, unintended use, or misuse of the product at issue.

                                 TENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ alleged injuries were caused or contributed to be caused by the intervening acts,

   superseding negligence, and/or subsequent conduct or fault on the part of a person or entity over

   whom GSK neither had control nor right of control and, therefore, Plaintiffs’ claims are barred

   and/or GSK is entitled to an apportionment of damages accordingly.

                              ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ alleged damages were not proximately caused by any act or omission of GSK

   and/or were caused or proximately caused by some person or third party other than GSK for whom

   GSK is not legally responsible.

                               TWELFTH AFFIRMATIVE DEFENSE

          One or more of the claims set forth in Plaintiffs’ Complaint are barred in whole or in part

   by the applicable statutes of limitation and/or statutes of repose.

                             THIRTEENTH AFFIRMATIVE DEFENSE

          GSK specifically pleads collateral estoppel, res judicata, waiver, laches, and failure to

   mitigate or minimize damages, if any.

                            FOURTEENTH AFFIRMATIVE DEFENSE

          Any acts performed by GSK in the design, manufacture, and marketing of the product at

   issue were in conformity with the “state of the art” existing at the time of such design, manufacture,

   and marketing, and public policy should hold that liability not be imposed on GSK for untold risks

   not known at the time of design, manufacture, and marketing of the product at issue.




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                              FIFTEENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are subject to the limitations set forth in the Restatement (Second) of

   Torts, section 402A, comment k, and/or the Restatement (Third) of Torts.

                              SIXTEENTH AFFIRMATIVE DEFENSE

           GSK had no duty to warn of the possible dangers of using the product at issue, the existence

   of which are denied, that were not known at the time of manufacture or sale of the product.

                            SEVENTEENTH AFFIRMATIVE DEFENSE

           All of GSK’s activities and conduct conformed to all state and federal statutes, regulations,

   and industry standards based upon the state of knowledge existing at the relevant time.

                             EIGHTEENTH AFFIRMATIVE DEFENSE

           The methods, standards, and techniques utilized by GSK in designing, formulating,

   manufacturing, and marketing the product at issue and in issuing warnings and instructions with

   respect to its use were proper and in conformity with the generally recognized, reasonably

   available, and reliable state of knowledge in the field at the time the product was manufactured.

                             NINETEENTH AFFIRMATIVE DEFENSE

           The injuries and/or damages claimed by Plaintiffs were the result of unavoidable

   circumstances that GSK could not have prevented.

                             TWENTIETH AFFIRMATIVE DEFENSE

           The injuries and/or damages claimed by Plaintiffs were the result of a pre-existing

   condition unrelated to any conduct of, or products placed in the stream of commerce by, GSK.

                           TWENTY-FIRST AFFIRMATIVE DEFENSE

           The conduct of GSK in all activities with respect to the product at issue has been and is

   under the supervision of FDA. Accordingly, this action is barred by the doctrine of primary

   jurisdiction.



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                          TWENTY-SECOND AFFIRMATIVE DEFENSE

          The alleged negligent or culpable conduct of GSK, none being admitted, was so

   insubstantial as to be insufficient to be a proximate or substantial contributing cause of Plaintiffs’

   alleged injuries.

                           TWENTY-THIRD AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred in whole or in part by the sophisticated user defense.

                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

          The injuries and/or damages claimed by Plaintiffs can be attributed to several causes and,

   accordingly, should be apportioned among the various causes according to the respective

   contribution of each such cause to the harm sustained.

                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred because the use of the product at issue was generally

   recognized as safe and effective pursuant to conditions established by FDA and applicable

   regulations, including packaging and labeling regulations.

                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

          The public interest, benefit, and availability of the product at issue outweigh the risks, if

   any, resulting from such activities, which were unavoidable given the state of knowledge at the

   time those activities were undertaken.

                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred in whole or in part by the principles of the learned intermediary

   and/or experienced user doctrine.

                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE

          Any verdict or judgment rendered against GSK must be reduced by those amounts that

   have or will, with reasonable certainty, replace or indemnify Plaintiffs, in whole or in part, for any



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   past or future claimed economic loss, from any collateral source such as insurance, Social Security,

   worker’s compensation, or employee benefit programs.

                           TWENTY-NINTH AFFIRMATIVE DEFENSE

          No act or omission of GSK was malicious, willful, wanton, reckless, grossly negligent, or

   intentional, and therefore any award of punitive damages is barred.

                             THIRTIETH AFFIRMATIVE DEFENSE

          At the time the product left GSK’s control, there was not a practical and technically feasible

   alternative design that would have prevented the harm without substantially impairing the

   reasonably anticipated or intended function of the product.

                            THIRTY-FIRST AFFIRMATIVE DEFENSE

          GSK is not liable for any harm caused because the product at issue contained an adequate

   warning as evidenced by its approval by FDA under the Federal Food, Drug, and Cosmetic Act.

                           THIRTY-SECOND AFFIRMATIVE DEFENSE

          Punitive damages are not available to Plaintiffs because the drug at issue was subject to

   premarket approval or licensure by FDA under the Federal Food, Drug, and Cosmetic Act and was

   approved or licensed.

                           THIRTY-THIRD AFFIRMATIVE DEFENSE

          GSK relies upon all defenses contained in any applicable state statute or law.

                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred, in whole or in part, because there was no deceptive act or

   practice.

                           THIRTY-FIFTH AFFIRMATIVE DEFENSE

          None of GSK’s acts, conduct, omissions, or statements alleged in the Complaint was likely

   to mislead.



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                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs and/or their prescribing

   physicians knew, at all times, the characteristics, uses, benefits, standard, and quality of the product

   at issue and therefore could not have justifiably relied on the alleged misrepresentations or

   omissions in the Complaint.

                           THIRTY-SEVENTH AFFIRMATIVE DEFENSE

           The representations and advertising regarding the product at issue are not unlawful because

   they are not, and were not, in violation of any law or regulation.

                           THIRTY-EIGHTH AFFIRMATIVE DEFENSE

           The representations and advertising regarding the product at issue were not and are not

   fraudulent. No representation or advertisement contains any false or misleading statement or

   promises intended to deceive the public. As such, the representations and advertising are not, and

   were not, fraudulent.

                            THIRTY-NINTH AFFIRMATIVE DEFENSE

           Plaintiffs are not entitled to relief under the statutes and legal theories invoked in their

   Complaint because Plaintiffs lack standing.

                               FORTIETH AFFIRMATIVE DEFENSE

           GSK has fully performed any and all contractual, statutory, and other duties, and Plaintiffs

   are therefore estopped from asserting any cause of action against GSK.

                             FORTY-FIRST AFFIRMATIVE DEFENSE

           Any award to Plaintiffs in this action would constitute unjust enrichment.




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                           FORTY-SECOND AFFIRMATIVE DEFENSE

           The Complaint and each cause of action therein presented are vague, ambiguous, and

   uncertain. GSK reserves the right to add additional defenses as the factual bases for each of

   Plaintiffs’ claims and allegations become known.

                            FORTY-THIRD AFFIRMATIVE DEFENSE

           To the extent Plaintiffs purport to seek equitable relief to mandate the specific content of

   GSK’s product labels, Plaintiffs’ Complaint violates GSK’s right to freedom of speech under the

   First Amendment of the United States Constitution and the similar provisions in any applicable

   state constitutions.

                           FORTY-FOURTH AFFIRMATIVE DEFENSE

           GSK is not liable for injuries or damages caused by any product that GSK did not sell or

   distribute pursuant to the NDAs that it held for Zantac.

                            FORTY-FIFTH AFFIRMATIVE DEFENSE

           GSK denies this court has personal jurisdiction over it and hereby alleges lack of personal

   jurisdiction as a separate affirmative defense.

                            FORTY-SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims for punitive damages are in violation of GSK’s rights under the Due

   Process Clause of the Fifth and Fourteenth Amendments of the United States Constitution and

   similar provisions in any applicable state constitutions and/or applicable state common law and

   public polices, and/or applicable statutes and court rules, in the circumstances of the litigation.

   See, e.g., State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003).

                          FORTY-SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims for punitive damages are in violation of GSK’s rights under the Excessive

   Fines Clause of the Eighth Amendment of the United States Constitution; the Double Jeopardy


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   Clause in the Fifth Amendment of the United States Constitution; the Free Speech Clause of the

   First Amendment of the United States Constitution; the Commerce Clause of Article I, Section 8

   of the United States Constitution; the Contracts Clause of Article I, Section 10 of the United States

   Constitution; similar provisions in any applicable state constitutions and/or applicable state

   common law and public policies; and/or applicable statutes and court rules, in the circumstances

   of this litigation.

                            FORTY-EIGHTH AFFIRMATIVE DEFENSE

           Because of the lack of clear standards, the imposition of punitive damages against GSK is

   unconstitutionally vague and/or overbroad.

                                 FORTY-NINTH AFFIRMATIVE DEFENSE

           The Zantac labeling was not false or misleading in any particular, and the product

   accordingly was not misbranded.

                                        DEFENSES RESERVED

           GSK hereby gives notice that it intends to rely upon any other defense that may become

   available or appear during the discovery proceedings in the case and hereby reserves the right to

   amend this Answer to assert any such defense. GSK also reserves the right to assert other and

   related defenses as may become available upon a determination of the law applicable to the action

   or any part thereof or claim therein.

                                             PRAYER FOR RELIEF

   WHEREFORE, GSK prays for judgment as follows:

           1.       That Plaintiffs take nothing;

           2.       That the Court enter judgement in favor of GSK on each remaining cause of action

                    alleged against it in the Second Amended Master Personal Injury Complaint;

           3.       That GSK be awarded its costs, expenses, and reasonable attorneys’ fees; and


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          4.     That the Court grant GSK all further legal and equitable relief that it deems just and

                 proper.

                                 DEMAND FOR BIFURCATED TRIAL

          If Plaintiffs are permitted to proceed to trial upon any claims for punitive or exemplary

   damages, such claims, if any, must be bifurcated from the remaining issues.

                                        JURY TRIAL DEMANDED

          GSK hereby demands a trial by jury on all claims triable by jury.

   Dated: August 23, 2021                                      Respectfully submitted,

                                                               /s/ Mark S. Cheffo
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                                                               GlaxoSmithKline Holdings
                                                               (Americas) Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 23, 2021 a copy of the foregoing ANSWER AND

   AFFIRMATIVE DEFENSES OF GSK was filed with the Clerk of Court using the CM/ECF

   system, which will provide notification to all counsel of record.


                                                                /s/ Mark S. Cheffo
                                                                Mark S. Cheffo




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